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    8                        UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
   10
   11 FAIR HOUSING COUNCIL OF )                        Case 5:21-cv-00941-JGB-KKx
      RIVERSIDE COUNTY, INC., and )
   12 JAMES BEASLEY,               )                   JOINT STIPULATION PURSUANT
                                   )                   TO LR 37 IN CONNECTION WITH
   13          Plaintiffs,         )                   PLAINTIFFS’ MOTION TO
                                   )                   COMPEL DISCOVERY
   14      vs.                     )
   15 GROUP XIII PROPERTIES LP,    )                   DISCOVERY MATTER
                                   )
   16 GROUP XIII PROPERTIES, INC., )                   Hearing:
      SWARANJIT (MIKE) NIJJAR,     )                   Date:       February 9, 2023
   17 ELISA VALERIO,   DHA         )                   Time:       10:00 a.m.
      OPPORTUNITY 1, LP, DHA       )                   Judge:      Hon. Kenly Kiya Kato
   18 OPPORTUNITY 1, INC., and     )
      DALJIT KLER,                 )                   Discovery Cutoff: March 27, 2023
   19                              )                   Pretrial Conference: August 28, 2023
               Defendants.         )                   Trial Date: September 19, 2023
   20                              )
   21         Pursuant to LR 37-2, the parties hereby submit their joint stipulation in
   22 connection with plaintiffs’ motion to compel further responses and production of
   23 documents from defendants pursuant to plaintiffs’ first (and third) requests for
   24 production Nos. 1-22 and second request for production Nos. 25-39 and 52-59.
   25         Supporting declarations including exhibits are filed concurrently with this joint
   26 stipulation: The Declaration of Christopher Brancart on behalf of plaintiffs (“Brancart
   27 Dec.”), authenticating Exhibits 1 - 34B and the Declaration of D. Wayne Leech on
   28

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    1 behalf of defendants (“Leech decl.”), authenticating Exhibits 35-42.
    2         Dated: January 19, 2023.
    3                               Respectfully submitted,
    4    BRANCART & BRANCART                     LAW OFFICE OF D. WAYNE
    5                                            LEECH, A PROFESSIONAL
                                                 CORPORATION
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    1                     JOINT STIPULATION OF THE PARTIES
    2 I.      INTRODUCTIONS
    3         A.     Plaintiffs’ Introduction:    This fair housing action arises out of
    4 defendants’ ownership and operation of the Villa La Paz apartments located at 675
    5 South San Jacinto Street in Hemet, one of dozens of apartment buildings owned or
    6 operated by defendant Swaranjit (Mike) Nijjar and his related limited partnerships,
    7 LLCs, and corporations in Riverside County and the Southland. James Beasley, a
    8 Black prospective tenant, and the Fair Housing Council of Riverside, the county’s
    9 nonprofit fair housing agency, filed suit on June 2, 2021, alleging that Villa La Paz
   10 property owner of record Group XIII Properties LP, its general partner, Group XIII
   11 Properties Inc., the corporation’s president and CEO, Mike Nijjar, and the apartment
   12 manager, Elisa Valerio, violated the federal Fair Housing Act, 42 U.S.C. §§ 3601 et
   13 seq. and related state laws by discriminating on the basis of race. (ECF 1.)
   14         On August 6, 2021, during the early meeting of counsel, defendants stated that
   15 Group XIII Properties LP had actually transferred the property in 2019 to DHA
   16 Opportunity 1, LP, an entity nominally controlled by Daljit Kler, defendant Mike
   17 Nijjar’s sister. Defendants did not provide any documentation supporting that
   18 assertion. (See Declaration of Christopher Brancart attached hereto [“Brancart Dec.”]
   19 ¶¶ 5-6 ).
   20         Plaintiffs promptly pursued discovery in this case. Plaintiffs propounded their
   21 first round of written discovery on defendants Group XIII Properties LP, Group XIII
   22 Properties, Inc., Mike Nijjar, and Elisa Valerio in December 2021. At the same time
   23 plaintiff noticed the depositions of Mike Nijjar and Elisa Valerio for February 2022.
   24 (Brancart Dec. ¶¶ 9-10 .) Defense counsel informed plaintiffs that he was unavailable
   25 on the dates noticed in February, and alternative dates were requested from defense
   26 counsel but were never provided. (Id.)
   27      The Court issued the Scheduling Order on January 27, 2022, amended on
   28 December 29, 2022. (ECF 26, 37; Brancart Dec. Exh. 1). The deadline for the

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    1 completion of all discovery, including for motions to compel discovery, is March 27,
    2 2023. The dispositive motion hearing cut-off is June 5, 2023, pretrial conference is
    3 August 28, 2023, and a five-day jury trial is scheduled to commence on September
    4 19, 2023. (Id.) On June 9, plaintiffs again noticed depositions for defendants but was
    5 again informed of unavailability by defense counsel without being offered alternative
    6 dates. (Brancart Dec. ¶ 3).
    7         In February 2022, defendants responded to plaintiffs’ written discovery and
    8 provided a copy of a deed, recorded on July 30, 2021 (after this action was filed),
    9 conveying the Villa La Paz apartments to DHA Opportunity 1, LP on January 2,
   10 2019. (Brancart Dec. Exh. 2-3.) The parties stipulated and the Court granted
   11 permission to plaintiffs to file a first amended complaint adding additional ownership
   12 defendants – DHA Opportunity 1, LP, its general partner DHA Opportunity 1, Inc.,
   13 and Daljit Kler, the president of DHA Opportunity, Inc. and sister of defendant Mike
   14 Nijjar. (ECF 31, 32.) Defendants answered on April 4, 2022. (ECF 33.)
   15         In the first amended complaint plaintiffs allege that defendants discriminated
   16 against James Beasley on the basis of his race when they refused to rent an available
   17 apartment at the Villa La Paz Apartments to him in May 2020. (First Amended
   18 Complaint, ECF 32 ¶¶ 13-24.) Beasley submitted an application to rent an available
   19 unit, but when he was shown the unit by Valerio and her husband on Tuesday May
   20 5, he saw that it was dirty and unready to rent. Beasley identified items that needed
   21 to be taken care of before he could move in. Valerio said she would have the unit
   22 ready by Saturday, May 9. As she was leaving the unit, Beasley overheard Valerio
   23 say to her husband words to the effect of, “this is why I don’t like renting to n—ers;
   24 they are always complaining.” (ECF 32 ¶¶ 15-22.) The next day, Beasley texted
   25 with Valerio and confirmed that the unit would be ready on May 9. (Id. ¶ 24.) On
   26 Friday, Beasley texted Valerio asking whether she had any other apartments that were
   27 rent ready. Manager Valerio responded that he should look at an apartment located
   28 at 145 Inez Street in Hemet. (Id. ¶¶ 26-27.) Beasley was familiar with that area and

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    1 knew the apartment was near a liquor store which attracted crime. A few hours later
    2 Beasley texted Valerio to make arrangements to drop off a deposit for the Villa La
    3 Paz unit, but she responded that the unit was no longer available. (Id. ¶¶ 29.)
    4 Surprised, Beasley asked two friends to text Valerio regarding apartment availability;
    5 Valerio told both that there was a unit available and ready to rent. (Id. ¶¶ 31-32.)
    6 Later that day Beasley texted Valerio, who responded that the unit had been rented.
    7 (Id.) Beasley contacted the Fair Housing Council of Riverside County about his
    8 experience. (Id. ¶ 35.) The Fair Housing Council had previously received hundreds
    9 of complaints regarding the condition and management of dwellings owned or
   10 operated by defendant Mike Nijjar and his related business entities in Riverside
   11 County. (Id. ¶ 33-34.)
   12         The documents sought by plaintiffs are relevant to establish their claims under
   13 the Fair Housing Act and related state laws and proportional to the claims at issue.
   14 Defendants’ objections should be overruled and they should be ordered to produce
   15 the documents requested below.
   16         B.    Defendants’ Introduction:
   17         1.    Ownership and management of the Villa La Paz apartments:
   18         On December 31, 2018, Defendant Group XIII Properties LP acquired the real
   19 property known as the Villa La Paz apartments (“Apartments”). (Leech decl., ¶ 2, Ex.
   20 35). On January 2, 2019, Group XIII Properties LP transferred title to the Apartments
   21 to Defendant DHA Opportunity 1 LP. (Leech decl., ¶ 3, Ex. 36). DHA Opportunity
   22 1 LP has owned the Apartments from January 2, 2019, to the present. ECF 32, ¶ 8.
   23         On January 1, 2020, DHA Opportunity 1 LP contracted with Pro Management
   24 Company Inc., a Nevada corporation (a non-party) (“Pro Management”), to provide
   25 professional property management services to manage the Apartments on behalf of
   26 DHA Opportunity 1 LP. (Leech decl., ¶5, Ex. 37). Pro Management has managed the
   27 Apartments from January 1, 2020 to the present.
   28

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    1         Defendant Elisa Valerio was employed by Pro Management Company Inc., as
    2 a residential apartment manager for the Apartments from January 1, 2020 to March
    3 31, 2021. (Leech decl., 6-7, Ex’s 37-38).
    4         Plaintiffs have known since before October 22, 2021, that Valerio was
    5 employed by Pro Management, not the Defendants, as they were advised in the Joint
    6 Rule 26(f) Report, as follows:
    7         “Defendants deny the allegations, deny liability and further deny that the
    8         defendants were the owners of the Subject Property at the time of the alleged
    9         actions. Defendants admit that GROUP XIII PROPERTIES LP owned the
   10         Subject Property from December 31, 2018 to January 2, 2019. Thereafter the
   11         owner of the Subject Property is and has been DHA OPPORTUNITY 1, LP,
   12         a California Limited Partnership. Defendants GROUP XIII PROPERTIES LP,
   13         GROUP XIII PROPERTIES, INC., and SWARANJIT (MIKE) NIJJAR did not
   14         employ defendant ELISA VALERIO. ELISA VALERIO was employed by
   15         PRO MANAGEMENT COMPANY INC., a Nevada corporation. Plaintiff
   16         Beasley did not have, and never presented, the security deposit and first
   17         month’s rent in order to secure the rental of the Subject Property. The Subject
   18         Property was rented to another black tenant, a tenant that presented the security
   19         deposit and first month’s rent”. (Leech decl., ¶8, Ex. 40, ECF 19, 2:15-274).
   20 In spite of knowing that Pro Management was the management company managing
   21 the Apartments and employing Valerio, Plaintiffs never named Pro Management as
   22 a defendant.
   23         Defendants Swaranjit (Mike) Nijjar, Group XIII Properties Inc., Daljit Kler and
   24 DHA Opportunity I Inc., have never owned the Apartments, never managed the
   25 Apartments, never employed Elisa Valerio to manage the Apartments, never
   26 contracted with Pro Management Company Inc., to manage the Apartments and have
   27 never had interactions with Plaintiff. Group XIII Properties LP has not owned, or
   28 managed the Apartments after January 2, 2019, has not employed Valerio, has not

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    1 contracted with Pro Management Company Inc., to manage the Apartments and has
    2 not interacted with Plaintiff.
    3         Defendants’ counsel has asked Plaintiffs’ counsel to dismiss Swaranjit (Mike)
    4 Nijjar, Group XIII Properties Inc., Daljit Kler, and Group XIII Properties LP. To date
    5 Plaintiffs have refused to dismiss said Defendants. Said Defendants are preparing a
    6 motion for summary judgment since they did not own or manage the Apartments, did
    7 not employ Valerio, and did not interact with Plaintiff.
    8         2.    Response to Plaintiffs’ allegations in the First Amended Complaint ECF
    9               32
   10         Beasley interacted only with Valerio. He did not interact with any of the other
   11 Defendants. ECF 32. Valerio knew that Beasley was African American when she
   12 received his rental application and identification. ECF 32 15. Valerio ran a credit
   13 check and verified that Beasley passed the credit check and advised him that he
   14 needed to pay the first month rent and security deposit to reserve the apartment. ECF
   15 32 16. (If Valerio was discriminating against Beasley because he was African
   16 American, she simply would have advised him that he did not pass the credit check).
   17 Valerio showed Beasley the apartment and advised him the he needed to pay the first
   18 month rent and the security deposit to reserve the apartment. Contrary to the
   19 allegations in the FAC, Valerio’s husband was not with Valerio when she showed the
   20 apartment to Beasley. Valerio never used the “N” word when Beasley was at the
   21 apartment. Beasley asked whether other apartments were available. Valerio provided
   22 him with another apartment address. Rather than looking at the other apartment,
   23 Beasley asked Valerio whether he could pay the deposit now and pay the balance
   24 later. ECF 32 26-29. Valerio advised that he needed to pay the first month rent and
   25 security deposit. Pro Management’s policy is that apartment units cannot be reserved
   26 unless the first month rent and security deposit are paid. Beasley never tendered, or
   27 offered to pay, the first month rent and security deposit in order to secure the
   28 apartment. Beasley never told Valerio that he wanted to reserve the apartment, or sign

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     1 a lease, or pay the first month rent and security deposit.
     2         A few days later, Valerio rented the unit to another African American tenant.
     3 Valerio (a Hispanic) rented other apartment units to other African American tenants,
     4 and Hispanic tenants, before and after her interactions with Beasley. Angry that
     5 Valerio would not reserve the apartment for only the security deposit, Beasley has
     6 filed this false claim,
     7         3.    Status of discovery
     8         To date, the Defendants, by obtaining the documents from Pro Management,
     9 which has custody of most of the documents sought, has produced all of Valerio’s
    10 personnel file, all of the “approved but not moved in” files in which Valerio was
    11 involved, all of the “approved and moved in” files in which Valerio was involved, all
    12 of the “moved out” files which Valerio was involved, all of the “rejected tenant
    13 applications” in which Valerio was involved, Valerio’s manager files, insurance
    14 policy documents, deeds, management agreements, credit applications, driver’s
    15 licenses, etc., marked confidential, totaling 1491 pages. Sensitive information such
    16 as social security and driver’s license numbers, tax returns, paystubs, financial and
    17 bank account information, etc., have been redacted. Pro Management has recently
    18 produced additional documents to Defendants’ counsel. Defendants’ counsel is
    19 reviewing the additional documents produced by Pro Management, marking them
    20 confidential and redacting sensitive information of nonparties (social security and
    21 driver’s license numbers, bank account balances, financial information, etc.). Pro
    22 Management does not keep hard copies of documents. Pro Management’s policy is
    23 to scan and save the electronic documents as a pdf and to shred the hard copies. All
    24 of the documents that have been provided to Defendants’ counsel by Pro
    25 Management are electronic (pdf) files. On or around December 9, 2022, Pro
    26 Management provided Defendants’ counsel with additional electronic (pdf) files
    27 which may be responsive to Plaintiffs' request for documents. On December 9, 2022,
    28 Defendants’ counsel produced the additional documents to Plaintiffs after redacting

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     1 sensitive information (i.e. social security and driver's license numbers, income tax
     2 records, etc.) and marking them confidential. To date Defendants have produced
     3 2518 pages of documents responsive to the request for production of documents.
     4         It should be noted that Plaintiffs have not produced any documents to
     5 Defendants.
     6 II. DISCOVERY SOUGHT
     7       A.     Plaintiffs’ Attempts to Obtain Discovery
     8
              Plaintiffs have diligently sought to obtain discovery in this case. Almost a
     9
       year ago, on December 27, 2021, plaintiffs served their first request for production
    10
       (Nos. 1-24) on the then-existing defendants. (Brancart Dec. ¶ 9; Exh. 5.) Defendants
    11
       served responses consisting of objections only on February 25, 2022. (Id. ¶¶ 11-12,
    12
       Exh. 7, 8.) Between April 20 and May 2, plaintiffs sought to obtain responsive
    13 documents from defendants. (Id., ¶¶ 13-14; Exhs. 9-10.) On May 3, the parties met
    14 and conferred regarding defendants’ discovery responses. (Id., ¶ 15; Exh. 11-12.)
    15 Defense counsel promised to make paper copies of documents regarding the operation
    16 of the subject property available to plaintiffs for inspection and copying on May 27
    17 and to send defendants’ electronic tenant files and records within the next two weeks.
    18 (Id., ¶ 16; Exh. 12.)
    19
               On May 12, 2022, plaintiffs’s counsel formally initiated the LR 37-1 process
    20
       to move to compel further responses to discovery from the original defendants Group
    21 XIII Properties LP; Group XIII Properties, Inc.; Swaranjit (Mike) Nijjar; and Elisa
    22 Valerio. (Brancart Dec. ¶¶ 18-20, Exh. 14-15.) On May 24, defense counsel advised
    23 that his clients do not maintain paper copies, but that he was in the process of
    24 reviewing electronic copies and would produce them by May 27. (Brancart Dec. ¶¶
    25 14-21; Exh. 14-16.) On May 31 and June 2, plaintiffs’ counsel’s office emailed
    26 defense counsel inquiring as to the status of that production but received no response.
    27 (Id., ¶¶ 22-23; Exh. 17-18.)
    28

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     1         On June 6, defendants provided supplemental discovery responses and a
     2 limited number of documents: [1] an insurance declaration page and contract, but no
     3 policy, [2] a property management agreement between DHA Opportunity 1, LP and
     4 Pro Management, [3] two redacted tenant files, and [4] three deeds. In answer to
     5 interrogatories, defendants created a chart or printout listing tenant names and dates
     6 of occupancy and a column entitled “Assumed Race.” (Brancart Dec. ¶¶ 24-25; Exh.
     7 19.) No electronic tenant files were produced. Defense counsel maintained he was
     8 still in the process of redacting private information from the files; plaintiffs responded
     9 that no redaction was necessary because of the existence of the protective order. (Id.,
    10 ¶¶ 26-28, Exh. 19-22.)
    11         On July 1, 2022, still having received no electronic rental files, plaintiffs’
    12 counsel provided defendants with their portion of the draft stipulation required by LR
    13 37-1 to be filed in support of plaintiffs’ motion to compel responses and production
    14 from defendants to plaintiffs’ first request for production of documents Nos. 1-20 and
    15 22. (Brancart Dec. ¶ 29; Exh. 22a.) In response, defendants agreed to make further
    16 responses and, on July 10-11, they produced documents and served supplemental
    17 discovery responses. (Brancart Dec. ¶ 30-31; Exh. 23, 23a.) After reviewing the
    18 documents produced, plaintiffs identified categories of documents missing from the
    19 production. (Id.)
    20         Meanwhile, on June 16, 2022, plaintiffs had served a document subpoena on
    21 Pro Management, Inc., the management company with whom DHA Opportunity 1,
    22 LP contracted to operate the Villa La Paz Apartments. (Brancart Dec. ¶ 32; Exh. 23b
    23 [Categories 1-15].) On July 11, in connection with the production of documents by
    24 the initially-named defendants, defense counsel advised that the documents
    25 defendants had produced were primarily from Pro Management. (Brancart Dec.¶ 32;
    26 Exh. 23a.) On July 30, 2022, Wayne Leech – serving as counsel for Pro Management
    27 as well as all defendants – served objections and a response to that subpoena.
    28 (Brancart Dec. ¶ 32; Exh. 23c.) On August 27, 2022, plaintiffs’ counsel requested to

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     1 meet and confer regarding those objections and responses, and counsel did so on
     2 September 2, 2022. (Brancart Dec. 32; Exh. 23d.) During that meet and confer,
     3 defense counsel advised that he had obtained additional documents responsive to
     4 plaintiff’s requests for production of documents to defendants and/or the subpoena
     5 to Pro Management, and that he would be producing them during the week of
     6 September 5. (Brancart Dec. ¶ 33, Exh. 24.) No documents were produced that
     7 week. (Id.) On September 16, plaintiffs’ office emailed defense counsel inquiring
     8 on the status of that production. (Brancart Dec. ¶ 34; Exh. 25.) Defense counsel did
     9 not respond. (Id.)
    10         On September 22, 2022, plaintiffs sent a written request to meet and confer
    11 regarding the documents missing from defendants’ July 11 supplemental production.
    12 (Brancart Dec. ¶ 35; Exh. 26.) On September 26, 2022, the parties met and conferred
    13 pursuant to LR 37-1. (Brancart Dec. ¶ 37.) During that conference, plaintiffs agreed
    14 to re-serve their first request for production (Nos. 1-24) on all defendants, including
    15 those added by the first amended complaint, re-titled as the third request for
    16 production, and to email a follow-up subpoena to Pro Management. (Brancart Dec.
    17 ¶ 37.) On September 22, 2022, plaintiffs served second requests for production (25-
    18 60) on all defendants, Group XIII Properties LP, Group XIII Properties, Inc.,
    19 Swaranjit (Mike) Nijjar, Elisa Valerio, DHA Opportunity 1, LP, DHA Opportunity
    20 1, Inc., and Daljit Kler. (Brancart Dec. ¶ 36; Exh. 27.) Plaintiffs served the third
    21 request for production (Nos. 1-24) and followup subpoena on Pro Management on
    22 September 28, 2022. (Brancart Dec. ¶ 38; Exh. 28, 28a.)
    23      On October 22, 2022, defendants served responses to plaintiffs’ second request
    24 for production of documents. (Brancart Dec. ¶ 39; Exh, 29.) Defendants provided
    25 responses to the third request for production (Nos. 1-24) on October 22, 2022.
    26 (Brancart Dec. ¶ 40; Exh. 30.) Defense counsel advised that his client was providing
    27 him with additional documents that he hoped to produce to plaintiffs “in a week or
    28 10 days.” (Id., Exh. 31.) On October 28, 2022, plaintiffs’ counsel wrote defense

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     1 counsel, advising that in spite of defense counsel’s prior representations on
     2 September 2, and October 22, defendants had not produced any additional documents
     3 since July 10, 2022, nor had they produced a privilege log. (Brancart Dec. ¶ 41; Exh.
     4 32.) Later that day, defense counsel emailed Pro Management’s objections in
     5 response to plaintiffs’ second document subpoena, stating that documents would be
     6 sent under separate email. (Brancart Dec. ¶ 41; Exh. 32a, 33.)
     7         The insurance information provided by defendants pursuant to Fed. R. Civ. P.
     8 26(a)(1)(A)(iv). consists of a declaration page and pages regarding the properties
     9 covered. The actual policy provisions are not attached. On November 7, 2022,
    10 plaintiffs’ counsel emailed defense counsel and requested a copy of the policy.
    11 (Brancart Dec. ¶ 42; Exh. 34.) Defense counsel has not responded to that email.
    12         On November 30, 2022, having received no additional documents from
    13 defendants, plaintiffs’ counsel provided defendants with their portion of the draft
    14 stipulation required by LR 37-1 to be filed in support of plaintiffs’ motion to compel
    15 further responses and production from defendants to plaintiffs’ first (and third)
    16 requests for production Nos. 1-22 and plaintiffs’ second request for production Nos.
    17 25-39 and 52-59. (Brancart Dec. ¶ 43; Exh. 34a.)
    18         On December 9, 2022, defendants sent plaintiffs two files by email, “Other
    19 Tenants 1508” which consisted of twelve additional tenant files for the La Villa Paz
    20 apartments (document numbers 1492-2215) and “3146” which consisted of six tenant
    21 files for apartments located at 212, 214, 216, and 218 South San Jacinto, in Hemet,
    22 CA (document numbers 2216-2518). Three of those applications were processed by
    23 defendant Elisa Valerio. (Brancart Dec.;¶ 44; Exh. 34b.)
    24         This motion seeks to compel production of the documents defendants have
    25 agreed to produce and to otherwise compel production of documents responsive to
    26 requests.
    27 //
    28

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     1         B.     Discovery Requests at Issue
     2 1.   Communications with and regarding plaintiffs and witnesses (requests 1-6
     3 Request No. 1:
     4
               Please produce any document that discusses, concerns, or regards plaintiff
     5 James Beasley, including any document that may be used to impeach Beasley’s
     6 character or to contradict Beasley’s testimony.
     7
         Response to Request 1 (served July 11, 2022):
     8
               Objection: vague and ambiguous. Overbroad. Seeks the production of
     9
         information and documentation protected from disclosure pursuant to the attorney
    10
         client communication privilege and attorney work product privilege. Seeks the
    11
         production of information and documents that invades the privacy of parties and third
    12
         parties. Beyond the scope of permissible discovery (not relevant to a party’s claims
    13
         or defenses nor likely to lead to discovery of admissible evidence). Without waiving
    14
         the foregoing objections, this responding party responds as follows: A diligent search
    15
         and reasonable inquiry has been made in an effort to locate the item(s) Demanded.
    16
         These Responding Parties are unable to comply because the documents are not in the
    17
         possession custody or control of the documents responsive to the request, other than
    18
         the pleadings on file herein and the deed in which title to the Subject Property was
    19
         transferred to DHA OPPORTUNITY 1, LP on or about January 2, 2019. On
    20
       information and belief, Pro Management Company Inc., the former employer of
    21 ELISA VALERIO, and DHA OPPORTUNITY 1, LP, who contracted with Pro
    22 Management Company Inc., to provide property management services for DHA
    23 OPPORTUNITY 1, LP at the Subject Property may have documents within its
    24 possession custody or control responsive to the request. Note that as of the date of
    25 this response, DHA OPPORTUNITY 1, LP has provided approximately 1491 pages
    26 of documents with its Initial Disclosures, some of which may be responsive to the
    27 request.
    28

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     1 Response to Re-Served Request 1 (served October 22, 2022):
     2         Objection: vague and ambiguous. Overbroad. Seeks the production of
     3 information and documentation protected from disclosure pursuant to the attorney
     4 client communication privilege and attorney work product privilege. Seeks the
     5 production of information and documents that invades the privacy of parties and third
     6 parties. Beyond the scope of permissible discovery (not relevant to a party’s claims
     7 or defenses nor likely to lead to discovery of admissible evidence). Without waiving
     8 the foregoing objections, this responding party responds as follows: A diligent search
     9 and reasonable inquiry has been made in an effort to locate the item(s) Demanded.
    10 To the extent defendants have possession, custody and control of documents
    11 responsive to the request, this Responding Party has complied with defendants’ Initial
    12 Disclosures.
    13 Request No. 2:
    14         If not produced in response to request 1, then please produce any document that
    15 reflect any communication between any defendant or its agent and plaintiff James
    16 Beasley, including any communication transmitted to or from [1] the email
    17 mrfamous1981@ gmail.com or [2] cell number 760-472-2632.
    18 Response to Request 2 (served July 11, 2022): Same as to No. 1 above.
    19
       Response to Re-Served Request 2 (served October 22, 2022): Same as to No. 1
    20
       above.
    21
       Request No. 3:
    22
              If not produced in response to request 1, then please produce any document that
    23
       reflects any communication, regardless of nature, source, or recipient, that discusses,
    24
       concerns, or regards plaintiff James Beasley.
    25
       Response to Request 3 (served July 11, 2022): Same as to No. 1 above.
    26
    27 Response to Re-Served Request 3 (served October 22, 2022): Same as to No. 1
    28 above.

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     1 Request No. 4:
     2         Please produce any document that discusses, concerns, or regards plaintiff Fair
     3 Housing Council of Riverside County (FHCRC)1, transmitted, received or dated at
     4 any time since January 1, 2017, including any document that may be used to impeach
     5 any FHCRC employee’s character or to contradict any FHCRC employee’s testimony.
     6 [FN 2: As used in these requests, “Fair Housing Council of Riverside County” Or
     7 “FHCRC” includes any employee of that organization.]
     8 Response to Request 3 (served July 11, 2022): Same as to No. 1 above.
     9 Response to Re-Served Request 4 (served October 22, 2022):
    10
               Objection: vague and ambiguous. Overbroad. Seeks the production of
    11
         information and documentation protected from disclosure pursuant to the attorney
    12
         client communication privilege and attorney work product privilege. Seeks the
    13 production of information and documents that invades the privacy of parties and third
    14 parties. Beyond the scope of permissible discovery (not relevant to a party’s claims
    15 or defenses nor likely to lead to discovery of admissible evidence). Without waiving
    16 the foregoing objections, this responding party responds as follows: A diligent search
    17 and reasonable inquiry has been made in an effort to locate the item(s) Demanded.
    18 This responding party is unable to comply because the document never existed, or has
    19 been lost or stolen, or has been destroyed, or is not in the possession, custody or
    20 control of the responding party. Plaintiff should have any documents responsive to
    21 the request in its possession, custody or control.
    22 Request No. 5:
    23
               If not produced in response to request 4, then please produce any document that
    24
         reflects any communication between any defendant or its agent and Fair Housing
    25
         Council of Riverside County, transmitted, received or dated at any time since January
    26
    27         1
            As used in these requests, “Fair Housing Council of Riverside County” Or
    28 “FHCRC” includes any employee of that organization.

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     1 1, 2017.
     2 Response to Request 5 (served July 11, 2022): Same responses as to Request 1
     3 above.
     4 Response to Re-Served Request 5 (served October 22, 2022):
     5       Objection: vague and ambiguous. Overbroad. Seeks the production of
     6 information and documentation protected from disclosure pursuant to the attorney
     7 client communication privilege and attorney work product privilege. Seeks the
     8 production of information and documents that invades the privacy of parties and third
     9 parties. Beyond the scope of permissible discovery (not relevant to a party’s claims
    10 or defenses nor likely to lead to discovery of admissible evidence). Without waiving
    11 the foregoing objections, this responding party responds as follows: Any privileged
    12 documents are attorney client communications regarding this litigation.
    13 Request No. 6:
    14
              If not produced in response to request 4, then please produce any document that
    15
       reflects any communication, regardless of nature, source, or recipient, that discusses,
    16
       concerns, or regards Fair Housing Council of Riverside County, transmitted, received
    17
       or dated at any time since January 1, 2017.
    18
       Response to Request 6 (served July 11, 2022): Same responses as to Request 1
    19
       above.
    20
       Response to Re-Served Request 6 (served October 22, 2022):
    21
              Objection: vague and ambiguous. Overbroad. Seeks the production of
    22
       information and documentation protected from disclosure pursuant to the attorney
    23
       client communication privilege and attorney work product privilege. Seeks the
    24
       production of information and documents that invades the privacy of parties and third
    25
       parties. Beyond the scope of permissible discovery (not relevant to a party’s claims
    26
       or defenses nor likely to lead to discovery of admissible evidence). Without waiving
    27
       the foregoing objections, this responding party responds as follows: Any privileged
    28

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     1 documents are attorney client communications regarding this litigation.
     2 Request No. 8:
     3      Please produce any document that discusses, concerns, or regards the person
     4 identified as Shandra Burks in the complaint, including any communication to, from,
     5 or about Burks.
     6 Response to Request 8 (served July 11, 2022): Same responses as to Request 1
     7 above.
     8
         Response to Re-Served Request 8 (served October 22, 2022):
     9
               Objection: vague and ambiguous. Overbroad. Seeks the production of
    10
         information and documentation protected from disclosure pursuant to the attorney
    11
         client communication privilege and attorney work product privilege. Seeks the
    12
         production of information and documents that invades the privacy of parties and third
    13
         parties. Beyond the scope of permissible discovery (not relevant to a party’s claims
    14
         or defenses nor likely to lead to discovery of admissible evidence). Without waiving
    15
         the foregoing objections, this responding party responds as follows: A diligent search
    16
         and reasonable inquiry has been made in an effort to locate the item(s) Demanded.
    17
         This responding party is unable to comply because the document never existed, or has
    18
         been lost or stolen, or has been destroyed, or is not in the possession, custody or
    19
         control of the responding party. Ms. Burks should have any documents responsive to
    20
         the request in its possession, custody or control.
    21
         Request No. 9:
    22
               Please produce any document that discusses, concerns, or regards the person
    23
         identified as Blair Edwards in the complaint, including any communication to, from,
    24
         or about Edwards.
    25
         Response to Request 9 (served July 11, 2022): Same responses as to Request 1
    26
         above.
    27
    28 Response to Re-Served Request 9 (served October 22, 2022):

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     1         Objection: vague and ambiguous. Overbroad. Seeks the production of
     2 information and documentation protected from disclosure pursuant to the attorney
     3 client communication privilege and attorney work product privilege. Seeks the
     4 production of information and documents that invades the privacy of parties and third
     5 parties. Beyond the scope of permissible discovery (not relevant to a party’s claims
     6 or defenses nor likely to lead to discovery of admissible evidence). Without waiving
     7 the foregoing objections, this responding party responds as follows: A diligent search
     8 and reasonable inquiry has been made in an effort to locate the item(s) Demanded.
     9 This responding party is unable to comply because the document never existed, or has
    10 been lost or stolen, or has been destroyed, or is not in the possession, custody or
    11 control of the responding party. Ms. Burks should have any documents responsive to
    12 the request in its possession, custody or control.
    13         C.    Plaintiffs’ Position
    14               1.     Requests 1-6 seeking information regarding Plaintiffs, Persons
    15                      with knowledge, and Elisa Valerio seek Relevant Information
    16         Requests Nos. 1-6 (regarding plaintiffs), 7-9 (regarding other persons with
    17 knowledge), and 10 (regarding Elisa Valerio) are narrowly drawn to request
    18 information about the individuals whose alleged experiences form the gravamen of
    19 the operative complaint (ECF 32). Requests Nos. 1-6 seek information about
    20 plaintiffs James Beasley and FHCRC (ECF 32, passim.); Request No. 8 seeks
    21 information about Shandra Burks, one of Beasley’s friends who posed as a
    22 prospective tenant to Varerio (ECF 32, ¶¶ 25, 30-31, 33); Request No. 9 seeks
    23 information about Blair Edwards, another one of Beasley’s friends who posed as a
    24 prospective tenant to Valerio (ECF 32, ¶¶ 32, 34); Request No. 10 seeks information
    25 about Valerio, the apartment manager with whom Beasley communicated about
    26 rental of a dwelling manager and who rejected his application based on
    27 unavailability (ECF 32, ¶¶ 11, 14-34). Request No. 7 (which, as set forth below,
    28 defendants have agreed to produce documents in response to) seeks information about

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     1 any other person “disclosed or identified by any party as a potential witness or person
     2 with knowledge.”
     3         Each of these individuals is known to defendants. Three of them – Beasley,
     4 FHCRC, and Valerio – are parties to the case. The other two – Burks and Edwards
     5 – communicated with Valerio about the availability of units for rent. (ECF 32, ¶¶ 25,
     6 30-31, 32-34.) The final, catch-all category is intended to cover any other witnesses
     7 disclosed by the parties, including the 16 witnesses that the parties jointly identified
     8 in their Rule 26(f) Report (ECF 19, p. 7-8). It is also intended to cover any other
     9 witnesses that may be eventually disclosed by defendants.
    10         These requests are plainly relevant. The documents that plaintiffs request will
    11 reflect defendants’ knowledge about each plaintiff or witness at the time of the
    12 document’s creation. That specific, contemporaneous knowledge is relevant to
    13 establishing defendants’ intent. It also provides plaintiffs with information to test the
    14 factual basis of defenses, since defendants cannot ground a defense upon information
    15 they did not know at the time. Only by obtaining the documents regarding the key
    16 percipient witnesses in this case that defendants created or controlled reflecting their
    17 rental practices and interactions can plaintiffs elicit admissions from defendants and
    18 rebut defenses. The information requested is not only relevant, but also admissible
    19 under Fed. R. Evid. 404(b), 406, 801(d)(2).
    20                2.     Defendants have failed to provide a privilege log.
    21         In response to Request No. 6 seeking “any document that reflects any
    22 communication, regardless of nature, source, or recipient, that discusses, concerns,
    23 or regards Fair Housing Council of Riverside County, transmitted, received or dated
    24 at any time since January 1, 2017,” defendants assert that any such documents are
    25 protected by the attorney-client privilege. As alleged in the first amended complaint,
    26 “[s]ince 2014, the Fair Housing Council has received hundreds of complaints about
    27 the condition and management of rental dwellings controlled by Nijjar.” (ECF 32,
    28 ¶ 33.) Documents reflecting communications between the Fair Housing Council and

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     1 defendant Nijjar and defendants are relevant to establish notice for purposes of
     2 punitive damages and impairment to the Fair Housing Council’s mission. (Id., ¶¶ 34,
     3 37.)
     4         What’s missing and should be ordered produced? Documents, including
     5 any ESI, regarding any party or disclosed witness, including, for example, Valerio’s
     6 text messages with Beasley, Burks, and Edwards. Though defendants claim that
     7 Valerio no longer has that phone, they have not explained what attempts they have
     8 made to locate the data.
     9         D.     Defendants’ Position
    10         Defendants have produced all documents in their possession, custody or
    11 control, consisting of documents obtained from Pro Management. Valerio no longer
    12 has the cell phone that she was using in April and May 2020, so she cannot produce
    13 any texts, if any existed. Therefore, no text messages can be retrieved, if any existed.
    14 Defendants have no emails responsive to the requests. Defendants’ counsel has asked
    15 Pro Management to carefully search its computer files to ascertain whether any emails
    16 and any other documents responsive to the requests exist. To date Pro Management
    17 has not located any such emails.
    18       Defendants cannot produce documents evidencing communications if they do
    19 not exist, Or if they do not have possession of.
    20
       2.    Defendants’ operations
    21
             A.      Discovery Requests at Issue
    22
       Request No. 10:
    23
             Please produce a complete copy of any document reflecting, discussing or
    24
       regarding the employment by any defendant of defendant Elisa Valerio – or any
    25
       member of Valerio’s family – including but limited to Valerio’s employment in
    26
       connection with the management of the Villa La Paz apartments, 675 South San
    27
       Jacinto Street in Hemet, including any personnel file, employment contract, training
    28

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     1 materials, and communications, dated at any time since January 1, 2017.
     2 Response to Request 10 (served July 11, 2022): Same responses as to Request 1
     3 above.
     4 Response to Re-Served Request 10 (served October 22, 2022):
     5       Objection: vague and ambiguous. Overbroad. Seeks the production of
     6 information and documentation protected from disclosure pursuant to the attorney
     7 client communication privilege and attorney work product privilege. Seeks the
     8 production of information and documents that invades the privacy of parties and third
     9 parties. Beyond the scope of permissible discovery (not relevant to a party’s claims
    10 or defenses nor likely to lead to discovery of admissible evidence). Without waiving
    11 the foregoing objections, this responding party responds as follows: A diligent search
    12 and reasonable inquiry has been made in an effort to locate the item(s) Demanded.
    13 To the extent defendants have possession, custody and control of documents
    14 responsive to the request, this Responding Party has complied with defendants’ Initial
    15 Disclosures.
    16 Policies, Instructions, Forms
    17
         Request No. 11:
    18
               A complete copy of any policies, directions, instructions or forms used in
    19
         connection with the management or operation of the Villa La Paz apartments at any
    20
         time since January 1, 2017.
    21
         Response to Request 11 (served July 11, 2022): Same response as to Request 10
    22
         above.
    23
         Response to Re-Served Request 11 (served October 22, 2022): Same response as
    24
         to Request No. 10 above.
    25
    26 Request No. 12:
    27      If not produced in response to request 11, then please produce documents
    28 sufficient to determine the policies, procedures, directions, instructions, or practices

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     1 followed or guiding the execution of the following rental functions at the Villa La Paz
     2 apartments since January 1, 2017:
     3         [a]   determining whether a vacant apartment is available for rent;
     4         [b]   determining whether an application to rent is complete;
     5         [c]   determining whether an application to rent meets the standard for
     6
               rental of a dwelling;
     7
               [d]   determining the deposit in connection with rental of an apartment;
     8
               [e]   determining the rental rate for rental of an apartment;
     9
    10         [f]   referring applicants to other apartment dwellings; and,

    11         [g]   showing an apartment for rent to prospective tenants.
    12 Response to Request 12 (served July 11, 2022): Same response as to Request 10
    13 above.
    14 Response to Re-Served Request 12 (served October 22, 2022): Same response as
    15 to Request No. 10 above.
    16 Training
    17 Request No. 13:
    18
               If not produced in response to requests 11 and 12, then please produce a
    19
         complete copy of any training or orientation materials provided to any person
    20
         participating in the management or operation of the Villa La Paz apartments at any
    21
         time since January 1, 2017.
    22
         Response to Request 13 (served July 11, 2022): Same response as to Request 10
    23
         above.
    24
         Response to Re-Served Request 13 (served October 22, 2022): Same response as
    25
         to Request No. 10 above.
    26
         Property Management Program
    27
    28 Request No. 14:

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     1         Any manual or instructions that describes any property management program
     2 used in connection with the management or operation of the Villa La Paz apartments
     3 at any time since January 1, 2017.
     4 Response to Request 14 (served July 11, 2022): Same response as to Request 10
     5 above.
     6 Response to Re-Served Request 14 (served October 22, 2022): Same response as
     7 to Request No. 10 above.
     8         B.     Plaintiffs’ Position
     9
                      1.    Requests seeking information re Policies, instructions, forms,
    10
                      Training, and Property management program
    11
               Requests Nos. 11-12 (regarding policies, instructions, and forms), 13
    12
         (regarding training), and 14 (regarding defendants’ property management program)
    13
         are narrowly drawn to obtain information about defendants’ relevant housing
    14
         practices.    Each request describes the desired information “with reasonable
    15
         particularity” as required under Fed. R. Civ. P. 34(b)(1)(A). Each request is
    16
         constrained by a temporal limitation (since January 1, 20172) and a site specific
    17
         limitation (Villa La Paz apartments). Where Request 11 seeks a relevant but broad
    18
         category of material – policies, directions, instructions, or forms used in management
    19
         of Villa La Paz, Request 12 provides concrete parameters of the management
    20
         materials to be produced:
    21
               If not produced in response to request 11, then please produce
    22
               documents sufficient to determine the policies, procedures, directions,
    23
               instructions, or practices followed or guiding the execution of the following
    24
               rental functions at the Villa La Paz[.]
    25
    26
               2
    27        As alleged in the complaints, the Fair Housing Council has received
       complaints from tenants about Nijjar operated apartment since 2014, three years
    28 before the temporal limitation embedded in each request.

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     1 The same is true for Request 13 seeking employee training materials. Request 14
     2 seeks material regarding the property management program used by defendants in
     3 connection with operation of the Villa La Paz; this would provide a data set that
     4 reflect the actual implementation of defendants’ housing practices and their treatment
     5 of tenants.
     6         Discovering information about defendants’ housing practices – as reflected in
     7 “policies, directions, instructions, or forms” used to guide and implement those
     8 practice – is the first building block in proving the commission of a discriminatory
     9 housing practice, the core concept in any fair housing case. The Fair Housing Act
    10 (FHA) provide an “aggrieved person” the right to sue for relief. 42 U.S.C. § 3613(a).
    11   An “aggrieved person” is any person injured by a “discriminatory housing practice.”
    12 42 U.S.C. § 3602(i). A “discriminatory housing practice” are the conducted made
    13 unlawful by the FHA, codified in §§ 3604, 3605, 3606, and 3617. 42 U.S.C. §
    14 3602(d). This case claims that defendants violated §§ 3604 (rental practices) and §
    15 3617 (inference with exercise of FHA rights). Each discriminatory housing practice
    16 under § 3604 consist of three component parts: A protected characteristic (e.g., race,
    17 sex, etc.), an adverse housing practice (e.g., refusal to rent, misrepresenting unit for
    18 rent), and a linkage between the two, typically “because of” used in §§ 3604(a), (b),
    19 and (d) or “indicates” as used in § 3604(c). Thus, as alleged here, plaintiffs claims
    20 that defendants violated:
    21        •    § 3604(a) making it unlawful “to refuse to . . . rent after the making
    22         of a bona fide offer, or to refuse to negotiate for the . . . rental of, or
    23         otherwise make unavailable or deny, a dwelling to any person because of
    24         race . . .; and,
    25         •      § 3604(d) making it unlawful “to represent to any person because of
    26         race . . . that any dwelling is not available for inspection, sale, or rental
    27         when such dwelling is in fact so available.
    28 The proof problem in most FHA cases is demonstrating the linkage between the

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     1 adverse housing practice (here, refusal to rent, lying about availability) and the
     2 protected status (here, race). That linkage is established under various proof theories,
     3 disparate treatment, disparate impact, discriminatory statement (§ 3604(c)), and
     4 disability-related theories. Here, plaintiffs rely principally on the disparate treatment
     5 theory to establish that linkages; specifically, whether Beasley’s race (black) was a
     6 motivating factor in the adverse housing practice committed that injured Beasley. See
     7 e.g., Ave. 6E Investments, LLC v. City of Yuma, 818 F.3d 493, 504 (9th Cir.), cert.
     8 denied, 137 S. Ct. 295, 196 L. Ed. 2d 214 (2016) (Under the FHA, a “plaintiff does
     9 not have to prove that the discriminatory purpose was the sole purpose of the
    10 challenged action, but only that it was a ‘motivating factor.’”); Cal. Govt. Code §
    11 12955.8 (Under FEHA, a “person intends to discriminate if . . . race . . . is a
    12 motivating factor in committing a discriminatory housing practice even though other
    13 factors may have also motivated the practice.”)
    14        Because motive and intentional are abstractions that cannot be observed,
    15 plaintiffs must discover and present evidence of observable circumstances from
    16 which motive or intentional may be inferred. The principal source of that
    17 circumstantial evidence arises from evidence of a defendant’s housing practices,
    18 including their effects, their background and purposes, their implementation, and any
    19 substantive or procedure departure from those practices. See e.g., Vill. of Arlington
    20 Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 267 (1977); Ave. 6E Investments,
    21 818 F.3d at 504; Pac. Shores Properties, LLC v. City of Newport Beach, 730 F.3d
    22 1142, 1158-59 (9th Cir. 2013). Before that effect, purpose, implementation, or
    23 deviation can be established, the practices themselves must be discovered. That is the
    24 information that Requests 11-14 seeks to obtain.
    25         Requests 11-14 (and production of tenant files, discussed below) seeks
    26 information, without which, the discriminatory housing practices at issue here cannot
    27 be proved under the disparate treatment theory. The granularity of these requests
    28 matches the granularity of the unlawful practices to be demonstrated. For example,

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     1 plaintiffs’ § 3604(a) claim is more exacting than a “refusal to rent.” For each
     2 discriminatory housing practice, HUD has issued regulations implementing that
     3 provision of the FHA. 42 U.S.C. § 3608 (HUD charged with FHA enforcement); §
     4 3614a (HUD “may make rules . . . to carry out this subchapter [, the FHA].) Thus,
     5 under § 3604(a), HUD regulations explicate the conduct that violates that subsection,
     6 including, as applicable here, that the FHA prohibits
     7         •     “using different qualification criteria or applications, or . . . rental
     8         standards or procedures, such as income standards, application requirements,
     9         application fees, credit analysis or . . . rental approval procedures or other
    10         requirements, because of race,” 24 C.F.R. § 100.60(b)(4); or,
    11         •     “discouraging any person from inspecting, . . . or renting a dwelling
    12         because of race,” 24 C.F.R. § 100.70(c)(1); or,
    13         •     steering a person to a dwelling because of race, 24 C.F.R. §§ 100.70(a),
    14         100.70(c)(4); or,
    15         •     “denying or delaying the processing of an application made by a renter
    16         . . . . because of race,” 24 C.F.R. § 100.70(d)(3); or
    17
               •     “failing to process an offer for the . . . rental of a dwelling . . .because of
    18
               race,” 24 C.F.R. § 100.65(b)(3).
    19
         HUD regulations also explicate the conduct prohibited under § 3604(d), including as
    20
         applicable here:
    21
               •     “indicating through words or conduct that a dwelling which is available
    22
               for . . . rental has been . . . rented because of race,” 24 C.F.R. § 100.80(b)(1);
    23
               or,
    24
               •     “limiting information, by word or conduct, regarding suitably priced
    25
               dwellings available for inspection . . . or rental, because of race,” 24 C.F.R. §
    26
               100.80(b)(4); or,
    27
    28         •     “providing false or inaccurate information regarding the availability of

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     1         a dwelling for . . . rental to any person, including testers, regardless of whether
     2         such person is actually seeking housing, because of race,” 24 C.F.R. §
     3         100.80(b)(5).
     4 The Supreme Court acknowledges, consistent with Chevron deference, that these
     5 HUD regulations are entitled to deference. Meyer v. Holley, 537 U.S. 280, 287
     6 (2003); accord Govt. Code § 12955.6 (FEHA follows HUD regulations). The
     7 granularity of the information requested by plaintiffs in these request is consistent
     8 with factual granularity needed to prove that defendants committed one or more
     9 discriminatory housing practices in violation of the FHA and FEHA.
    10         Next, documents regarding training completed or provided to the owners,
    11 operators, and managers of the Villa La Paz reflects their knowledge of fair housing
    12 laws, which informs their intentionality and therefore is relevant to show
    13 discrimination under the disparate treatment theory.
    14         Finally, documents reflecting the existence, type or brand of property
    15 management software used by defendants to track data about the operation of the
    16 Villa La Paz apartment is necessary to establish the actual policies and practices
    17 implemented by defendants.
    18      What’s missing and should be ordered produced? Defendants have
    19 produced nothing in response to these requests, and should be ordered to full comply
    20 with these requests. This information will establish the basic housing practices
    21 implemented by defendants, which in turn provides the foundation for proving
    22 commission of a discriminatory housing practice. These records and ESI bear not
    23 only on defendants’ intent (training records) and the availability of ESI regarding
    24 their treatment of tenants (property management program), but bear directly on
    25 disputed issues to be resolved, including the determination of the availability of
    26 dwellings for rent, the disclosure of information regarding dwelling available for rent,
    27 the condition of dwellings deemed rent-ready, the application of conditions and
    28 requirements to qualify for rental of dwelling. Defendants have produced none of this

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     1 necessary information.
     2         C.     Defendants’ Position
     3         Defendants have produced all documents responsive to the requests within
     4 their possession, custody and control, most of which were obtained from Pro
     5 Management. The documents include Valerio’s personnel and manager’s files,
     6 including the Employee Handbook, employment contract, and other documents which
     7 delineate the company policies regarding discrimination, etc. (Request No. 10).
     8 (Leech decl., ¶ 13). Defendants have produced hundreds of pages of the tenant files,
     9 which include applications, credit checks, rental agreements, Employee Handbook,
    10 etc. (Request No. 11-13), Defendants have no documents responsive to Request No.
    11 14. (Leech decl., ¶13). Defendants cannot produce documents that do not exist.
    12 3.    Ownership and control
    13         A.     Discovery Requests at Issue
    14
         Request No. 15:
    15
               15.    A complete copy of records sufficient to establish each individual who
    16
         has any ownership interest or control of the Villa La Paz apartments at any time since
    17
         January 1, 2017, including:
    18
               [a]    for any corporation, the article of incorporation, amendments, bylaw and
    19
               minutes reflecting ownership or control;
    20
    21         [b]    for any LLC, management agreements, amendments, contributions and
               distributions by members; and,
    22
    23         [c]    any trust documents holding any interests to the property.
    24 Response to Request 15 (served July 11, 2022): Same response as to Request 10
    25 above.
    26 Response to Re-Served Request 15 (served October 22, 2022):
    27         Objection: vague and ambiguous. Overbroad. Seeks the production of
    28 information and documentation protected from disclosure pursuant to the attorney

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     1 client communication privilege and attorney work product privilege. Seeks the
     2 production of information and documents that invades the privacy of parties and third
     3 parties. Beyond the scope of permissible discovery (not relevant to a party’s claims
     4 or defenses nor likely to lead to discovery of admissible evidence). Without waiving
     5 the foregoing objections, this responding party responds as follows: A diligent search
     6 and reasonable inquiry has been made in an effort to locate the item(s) Demanded. To
     7 the extent defendants have possession, custody and control of documents responsive
     8 to the request, this Responding Party has complied with defendants’ Initial
     9 Disclosures.
    10         B.     Plaintiffs’ Position
    11         Request No. 15 seeks information about the ownership and control of the Villa
    12 La Paz apartments, the rental dwelling at the center of this action. Ownership and
    13 control are the facts from which liability for discriminatory housing practices may be
    14 established under various agency or tort theories. Direct or vicarious liability under
    15 the FHA is determined be traditional agency and tort principles. Meyer v. Holley, 537
    16 U.S. at 285-87. As applied in FHA cases, those theories have been codified by HUD:
    17         (a) Direct liability. (1) A person is directly liable for: (i) The person’s own
    18         conduct that results in a discriminatory housing practice. (ii) Failing to take
    19         prompt action to correct and end a discriminatory housing practice by that
    20         person’s employee or agent, where the person knew or should have known of
    21         the discriminatory conduct. (iii) Failing to take prompt action to correct and
    22         end a discriminatory housing practice by a third-party, where the person knew
    23         or should have known of the discriminatory conduct and had the power to
    24         correct it. The power to take prompt action to correct and end a discriminatory
    25         housing practice by a third-party depends upon the extent of the person’s
    26         control or any other legal responsibility the person may have with respect to
    27         the conduct of such third-party.
    28         ....

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     1         (b) Vicarious liability. A person is vicariously liable for a discriminatory
     2         housing practice by the person’s agent or employee, regardless of whether the
     3         person knew or should have known of the conduct that resulted in a
     4         discriminatory housing practice, consistent with agency law.
     5 24 C.F.R. § 100.7.
     6         Defendants contend that plaintiffs have improperly sued three of the four
     7 defendants named in the original complaint, property owner Group XIII Properties
     8 LP, the LP’s general partner, Group XIII Properties Inc., the corporation’s president
     9 and CEO, Mike Nijjar. Defendants identified whom they assert are the proper
    10 defendants, property owner DHA Opportunity 1 LP, its general partner, DHA
    11 Opportunity Inc., and DHA’s president Daljt Kler (defendant Mike Nijjar’s sister) –
    12 whom defendants claim are the sole owners and operators of the Villa La Paz
    13 apartments
    14         Plaintiffs contend that each defendants is liable, directly or vicariously and
    15 specifically that Nijjar remains in control of the entities that own and operate the Villa
    16 La Paz apartments and that transfer of that property was not an arms-length, bona fide
    17 transfer of ownership. Defendants disagree. This factual dispute may be resolved by
    18 the production of records and ESI in defendants’ possession that Request 15
    19 demands. If, as plaintiffs contend, Nijjar retained control over the Villa La Paz
    20 apartment, then he may be found directly or vicariously liable for the discriminatory
    21 housing practices committed. This dispute cannot be resolved without access to the
    22 records solely in the possession of defendants.
    23         What’s missing and should be ordered produced? Defendants selectively
    24 produced some, but not all of the deeds, reflecting a quitclaim of the property from
    25 Nijjar and his companies to Kler and her companies. That quitclaim was executed
    26 two years before it was actually recorded and was not recorded until after the filing
    27 of this lawsuit, raising the inference that the transaction was not an arm’s length one
    28 but merely a shuffling of assets between related persons and entities. To resolve this

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     1 dispute, the corporate records demanded under Request 15 should be ordered
     2 produced.
     3         C.     Defendants’ Position
     4         Defendants produced the documents responsive to the request, specifically the
     5 two deeds (Leech decl., Ex.’s 35 and 36). The deed (Ex. 36) was delivered to DHA
     6 Opportunity 1, LP, therefore the title transferred to DHA Opportunity 1, LP on
     7 January 2, 2019.
     8       Generally, the corporation, not its officers, directors or owners, is liable for the
     9 discriminatory housing practices committed by the corporation’s employees and
    10 agents. (Corp. Code § 317; Meyer v. Holley, 537 U.S. 280, 290-291, 123 S. Ct. 824,
    11 831, 154 L. Ed. 2d 753 (2003); Frances T. v. Village Green Owners Assn., 42 Cal. 3d
    12 490, 503-504, 229 Cal. Rptr. 456, 463, 723 P.2d 573, 59 A.L.R.4th 447 (1986).)
    13 Corporate officers generally are not vicariously liable for the acts of the corporation’s
    14 agents. (Meyer, supra; Frances T. v. Village Green Owners Assoc., supra, 42 Cal. 3d
    15 at 503-504, 229 Cal.Rptr. at 463.)
    16       Plaintiffs incorrectly argue that Defendants identified whom they assert are the
    17 proper defendants, property owner DHA Opportunity 1 LP, its general partner, DHA
    18 Opportunity Inc., and DHA’s president Daljt Kler (defendant Mike Nijjar’s sister) -
    19 whom defendants claim are the sole owners and operators of the Villa La Paz
    20 apartments. This is false. Defendants have never asserted that DHA Opportunity Inc.,
    21 and DHA’s president Daljt Kler are the owners of the Apartments or are proper
    22 defendants. Defendants have always taken the position that DHA Opportunity 1 LP
    23 was the owner of the Apartments from January 2, 2019, to the present. Defendants do
    24 not dispute that Daljt Kler is the president of DHA Opportunity 1 Inc. Per the
    25 Statement of Information filed with the California Secretary of State on February 3,
    26 2020, the officers of DHA Opportunity 1 Inc., are Daljit Kler and Ryan Liu. Plaintiffs
    27 know about this fact since Plaintiff allege in the First Amended Complaint that
    28 “According to California Secretary of State filing no. 20-007450, since February 3,

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     1 2020, defendant Daljit Kler has been the president of defendant DHA Opportunity 1,
     2 Inc.” (ECF 32 9). Plaintifffs have the document evidencing the officers and directors
     3 of DHA Opportunity 1 Inc., during Beasley’s interactions with Valerio. (Leech decl.,
     4 Ex. 17, Ex. 42).
     5 4.      Insurance policy
     6         A.    Discovery Requests at Issue
     7 Request 21:
     8
              Please produce a complete copy of any insurance agreement, including all
     9
       declaration and policy pages, that may afford any coverage for indemnity or defense
    10
       to any defendant in this action, even if coverage is disputed by the insurer.
    11
       Response to Request 21 (served July 11, 2022):
    12
              Objection: vague and ambiguous. Overbroad. Seeks the production of
    13
       information and documentation protected from disclosure pursuant to the attorney
    14
       client communication privilege and attorney work product privilege. Seeks the
    15
       production of information and documents that invades the privacy of parties and third
    16
       parties. Beyond the scope of permissible discovery (not relevant to a party’s claims
    17
       or defenses nor likely to lead to discovery of admissible evidence). Without waiving
    18
       the foregoing objections, this responding party responds as follows: A diligent search
    19
       and reasonable inquiry has been made in an effort to locate the item(s) Demanded.
    20
       These Responding Parties have complied by providing the documents bate stamped
    21
       14-20.
    22
       Response to Re-Served Request 20 (served October 22, 2022):
    23
    24        Objection: vague and ambiguous. Overbroad. Seeks the production of
    25 information and documentation protected from disclosure pursuant to the attorney
    26 client communication privilege and attorney work product privilege. Seeks the
    27 production of information and documents that invades the privacy of parties and third
    28 parties. Beyond the scope of permissible discovery (not relevant to a party’s claims

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     1 or defenses nor likely to lead to discovery of admissible evidence). Without waiving
     2 the foregoing objections, this responding party responds as follows: A diligent search
     3 and reasonable inquiry has been made in an effort to locate the item(s) Demanded. To
     4 the extent defendants have possession, custody and control of documents responsive
     5 to the request, this Responding Party has complied with respect to the Initial
     6 Disclosures.
     7         B.      Plaintiffs’ Position
     8         As part of initial disclosures, a party is required to produce for inspection and
     9 copying “any insurance agreement under which an insurance business may be liable
    10 to satisfy all or part of a possible judgment in the action or to indemnify or reimburse
    11 for payments made to satisfy the judgment.” Fed. R. Civ. P. 26(a)(1)(A)(iv). The
    12 insurance information provided by defendants consists of a declaration page and
    13 pages regarding the properties covered. The actual policy provisions are not attached.
    14 (Brancart Dec. ¶ 43.) On November 7, 2022, plaintiffs’ counsel emailed defense
    15 counsel and requested a copy of the policy. (Id., Exh. 34.) Defense counsel has not
    16 responded to that email. (Id.)
    17         C.      Defendants’ Position.
    18         Defendants have produced the insurance policy within its possession, custody
    19 and control. Plaintiffs have issued subpoenas to CRC Insurance Services, Inc.,
    20 seeking the policy, to the extent that such documents exist.
    21 5.      Financial condition
    22
               A.      Discovery Requests at Issue
    23
         Request 22:
    24
               Please produce document sufficient to determine each defendant’s current net
    25
         worth, including, for example, a financial statement, loan application, or net worth
    26
         statement.
    27
    28 Response to Request 19 (served July 11, 2022):

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     1         Objection: vague and ambiguous. Overbroad. Seeks the production of
     2 information and documentation protected from disclosure pursuant to the attorney
     3 client communication privilege and attorney work product privilege. Seeks the
     4 production of information and documents that invades the privacy of parties and third
     5 parties. Seeks the production of financial information and documents that invades
     6 Responding Party’s privacy rights and is improper per Civil Code § 3295. Beyond the
     7 scope of permissible discovery (not relevant to a party’s claims or defenses nor likely
     8 to lead to discovery of admissible evidence). Defendants GROUP XIII PROPERTIES
     9 LP, GROUP XIII PROPERTIES, INC., and SWARANJIT (MIKE) NIJJAR will soon
    10 be filing a motion for summary judgment and will seek a stay on discovery pending
    11 the Court ruling on the motion.
    12 Response to Re-Served Request 20 (served October 22, 2022):
    13         Objection: vague and ambiguous. Overbroad. Seeks the production of
    14 information and documentation protected from disclosure pursuant to the attorney
    15 client communication privilege and attorney work product privilege. Seeks the
    16 production of information and documents that invades the privacy of parties and third
    17 parties. Seeks the production of financial information and documents that invades
    18 Responding Party’s privacy rights and is improper per Civil Code § 3295. Beyond the
    19 scope of permissible discovery (not relevant to a party’s claims or defenses nor likely
    20 to lead to discovery of admissible evidence).
    21         B.     Plaintiffs’ Position
    22         Request No. 22 seeks records regarding defendants’ financial condition. This
    23 information is necessary for establishing defendants’ ability to pay damages,
    24 including punitive damages, an award of which is expressly authorized by the Fair
    25 Housing Act. 42 U.S.C. §3613(c). It is well-established that a defendant’s income,
    26 assets, and net worth are relevant to the issue of punitive damages. As such,
    27 plaintiffs’ request for the same here is appropriate. See, e.g., City of Newport v. Fact
    28 Concerts, Inc., 453 U.S. 247, 270-271 (1981) (defendants’ net worth is a relevant

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     1 factor in the determination of the amount of punitive damages to be awarded);
     2 accord, White v. Ford Motor, 500 F.3d 963, 977 (9th Cir. 2007) (“As is clear from
     3 State Farm [v. Campbell] itself, the jury’s use of wealth in imposing punitive
     4 damages is both lawful and appropriate”). Indeed, in a fair housing case, a
     5 defendant’s size and financial condition must be considered in determining the size
     6 of a punitive damages award. See, e.g., Phillips v. Hunter Trails Community Ass’n,
     7 685 F.2d 184, 191 (7th Cir. 1982).
     8         Plaintiffs are not required to establish liability or make out a prima facie
     9 showing of entitlement to punitive damages to justify discovery of financial
    10 information. Charles O. Bradley Trust v. Zenith Capital LLC, 2005 WL 1030218
    11 (N.D.Cal, 2005) (“This Court concludes that it is not appropriate to delay discovery
    12 on punitive damages because, as suggested by one court, such information is valuable
    13 to both parties in making a realistic appraisal of the case and may lead to settlement
    14 and avoid protracted litigation.”). In Zuniga v. Western Apartments, 2014 WL
    15 2599919 (C.D.Cal., 2014), another fair housing case, the court ordered the full
    16 disclosure of net worth information of a defendant landlord. Id. at 29-30. See also
    17 Sandoval v. Lagoon Associates, LLC, 2016 WL 9113994 (C.D.Cal., 2016).
    18 Accordingly, plaintiffs’ request of this information is relevant and proportional here.
    19         C.     Defendants’ Position.
    20         As set forth above, the owner of the Apartments was DHA Opportunity 1 LP
    21 (ECF 32 ¶ 8) None of the other defendants owned the Apartments when Beasley
    22 interacted with Valerio. Pro Management, a non-party, was the company that
    23 employed Valerio and contracted with DHA Opportunity 1 LP to manage the
    24 Apartments.
    25         Swaranjit (Mike) Nijjar, Group VIII Properties LP, Group VIII Properties Inc.,
    26 and Daljit Kler did not own or manage the Apartments, and did not employ Valerio
    27 or contract with Pro Management to manage the Apartments. Said defendants net
    28 worth should not be discoverable. Defendants DHA Opportunity 1 LP and DHA

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     1 Opportunity 1 Inc., will produce documents evidencing their net worth on condition
     2 that the documents are produced and marked “CONFIDENTIAL AND FOR
     3 ATTORNEY EYES ONLY”, and that the protective order (ECF 21) be amended, or
     4 a new protective order issued to provide that documents produced and marked
     5 “CONFIDENTIAL AND FOR ATTORNEY EYES ONLY” may not be disclosed,
     6 including the information contained therein, to anybody other than the Attorney of
     7 record.
     8         Since the other Defendants have not owned or managed the Apartments, and
     9 had no interaction with Beasley, the request for their financial information should be
    10 denied. Said Defendants will be filing a motion for summary judgment and partial
    11 summary judgment (with respect to punitive damages).
    12 6.      Requests for which defendants agreed to produce documents and ESI
    13         A.     Discovery Requests at Issue
    14 Persons with Knowledge
    15
       Request No. 7:
    16
             Please produce any writing or statement by any person – disclosed or identified
    17
       by any party as a potential witness or person with knowledge – regarding any facts
    18
       relevant to any claim or defenses alleged in this action.
    19
       Response to Request 7 (served July 11, 2022):
    20
    21       Objection: vague and ambiguous. Overbroad. Seeks the production of
         information and documentation protected from disclosure pursuant to the attorney
    22
         client communication privilege and attorney work product privilege. Seeks the
    23
         production of information and documents that invades the privacy of parties and third
    24
         parties. Beyond the scope of permissible discovery (not relevant to a party’s claims
    25
         or defenses nor likely to lead to discovery of admissible evidence). Without waiving
    26
         the foregoing objections, this responding party responds as follows: A diligent search
    27
         and reasonable inquiry has been made in an effort to locate the item(s) Demanded.
    28

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     1 These Responding Parties are unable to comply because the documents are not in the
     2 possession custody or control of the documents responsive to the request, other than
     3 the pleadings on file herein and the deed in which title to the Subject Property was
     4 transferred to DHA OPPORTUNITY 1, LP, on or about January 2, 2019. On
     5 information and belief, Pro Management Company Inc., the former employer of
     6 ELISA VALERIO, and DHA OPPORTUNITY 1, LP, who contracted with Pro
     7 Management Company Inc., to provide property management services for DHA
     8 OPPORTUNITY 1, LP at the Subject Property may have documents within its
     9 possession custody or control responsive to the request. Note that as of the date of
    10 this response, DHA OPPORTUNITY 1, LP has provided approximately 1491 pages
    11 of documents with its Initial Disclosures, some of which may be responsive to the
    12 request.
    13 Response to Re-Served Request 7 (served October 22, 2022):
    14         Objection: vague and ambiguous. Overbroad. Seeks the production of
    15 information and documentation protected from disclosure pursuant to the attorney
    16 client communication privilege and attorney work product privilege. Seeks the
    17 production of information and documents that invades the privacy of parties and third
    18 parties. Beyond the scope of permissible discovery (not relevant to a party’s claims
    19 or defenses nor likely to lead to discovery of admissible evidence). Without waiving
    20 the foregoing objections, this responding party responds as follows: A diligent search
    21 and reasonable inquiry has been made in an effort to locate the item(s) Demanded. To
    22 the extent defendants have possession, custody and control of documents responsive
    23 to the request, this Responding Party has complied with respect to the Initial
    24 Disclosures and will also produce additional documents. [Emphasis added].
    25 Request No. 16:
    26         A complete copy of any ESI in a property management program regarding any
    27 tenant or who rented or occupied a dwelling unit at the Villa La Paz apartments at any
    28 time since January 1, 2017.

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     1 Response to Request 17 (served July 11, 2022): Same as to No. 7 above.
     2 Response to Re-Served Request 17 (served October 22, 2022): Same as to No. 7
     3 above.
     4 Villa La Paz Tenants
     5 Request 16:
     6
               A complete copy of any ESI in a property management program regarding any
     7
         tenant or who rented or occupied a dwelling units at the Villa La Paz apartments at
     8
         any time since January 1, 2017.3
     9
         Response to Request 16 (served July 11, 2022):
    10
               Objection: vague and ambiguous. Overbroad. Seeks the production of
    11
    12
               3
    13          The same request (for documents from January 1, 2018) was served on Pro
         Management via subpoena as Category 11 documents in an effort to obtain any
    14
         documents defendants claimed were not in their custody or control. (Brancart
    15   Dec.; Exh. 23b.) Pro Management responded as follows:
    16         Objection: vague and ambiguous. Overbroad. Seeks the production of
               information and documentation protected from disclosure pursuant to the
    17         attorney client communication privilege and attorney work product
    18         privilege. Seeks the production of information and documents that invades
    19         the privacy of parties and third parties. Seeks the production of financial
               information and documents that invades Responding Party’s privacy rights.
    20         Beyond the scope of permissible discovery (not relevant to any party’s
    21         claim or defense and not proportional to the needs of the case). Does not
               comply with the notice requirements of Calif. CCP § 1985.3. Housing
    22
               Rights Center, 3255 Wilshire Blvd. #1150, Los Angeles, CA 90010 is not a
    23         party to the instant litigation nor is it counsel of record in the instant
    24         litigation, and as such is not entitled to receive the documents. Without
               waiving the foregoing objections, this responding party will comply to
    25
               the extent it does not divulge documentation that is privileged by
    26         producing documents subject to the Court’s Protective order to
    27         Plaintiff’s counsel of record with confidential information (i.e., social
               security and driver’s license numbers) redacted.
    28   (Brancart Dec.; Exh. 23c [emphasis added].)
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     1 information and documentation protected from disclosure pursuant to the attorney
     2 client communication privilege and attorney work product privilege. Seeks the
     3 production of information and documents that invades the privacy of parties and third
     4 parties. Beyond the scope of permissible discovery (not relevant to a party’s claims
     5 or defenses nor likely to lead to discovery of admissible evidence). Without waiving
     6 the foregoing objections, this responding party responds as follows: A diligent search
     7 and reasonable inquiry has been made in an effort to locate the item(s) Demanded.
     8 These Responding Parties are unable to comply because the documents are not in the
     9 possession custody or control of the documents responsive to the request, other than
    10 the pleadings on file herein and the deed in which title to the Subject Property was
    11 transferred to DHA OPPORTUNITY 1, LP, on or about January 2, 2019. On
    12 information and belief, Pro Management Company Inc., the former employer of
    13 ELISA VALERIO, and DHA OPPORTUNITY 1, LP, who contracted with Pro
    14 Management Company Inc., to provide property management services for DHA
    15 OPPORTUNITY 1, LP at the Subject Property may have documents within its
    16 possession custody or control responsive to the request. Note that as of the date of
    17 this response, DHA OPPORTUNITY 1, LP has provided approximately 1491 pages
    18 of documents with its Initial Disclosures, some of which may be responsive to the
    19 request.
    20 Response to Re-Served Request 16 (served October 22, 2022):
    21         Objection: vague and ambiguous. Overbroad. Seeks the production of
    22 information and documentation protected from disclosure pursuant to the attorney
    23 client communication privilege and attorney work product privilege. Seeks the
    24 production of information and documents that invades the privacy of parties and third
    25 parties. Beyond the scope of permissible discovery (not relevant to a party’s claims
    26 or defenses nor likely to lead to discovery of admissible evidence). Without waiving
    27 the foregoing objections, this responding party responds as follows: A diligent search
    28 and reasonable inquiry has been made in an effort to locate the item(s) Demanded. To

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     1 the extent defendants have possession, custody and control of documents
     2 responsive to the request, this Responding Party will comply, including the
     3 documents with defendants’ Initial Disclosures. [Emphasis added].
     4 Request 17:
     5         A complete copy of any paper files regarding any tenant or who rented or
     6 occupied a dwelling units at the Villa La Paz apartments at any time since January 1,
     7 2017.4
     8 Response to Request 17 (served July 11, 2022): Same as to No. 16 above.
     9
       Response to Re-Served Request 17 (served October 22, 2022): Same as to No. 16
    10
       above.
    11
       Villa La Paz Prospective Tenants
    12
       Request 18:
    13
              A complete copy of any document reflecting or regarding person who applied
    14
       for or inspected a dwelling unit for rent at the Villa La Paz apartments at any time
    15
       since January 1, 2017.
    16
    17 Response to Request 18 (served July 11, 2022): Same as to No. 16 above.
    18 Response to Re-Served Request 18 (served October 22, 2022): Same as to No. 16
              5
    19 above.
    20 //
    21
    22
               4
              The same request (for documents from January 1, 2018) was served on Pro
    23
       Management via subpoena as Category 14 documents. (Brancart Dec.; Exh. 23b.)
    24 Pro Management made the same response as to Category 11 set forth in footnote 3
    25 above.
               5
    26        The same request (for documents from January 1, 2018) was served on Pro
    27 Management via subpoena as Category 13 documents. (Brancart Dec.; Exh. 23b.)
       Pro Management made the same response as to Category 11 set forth in footnote 3
    28 above.

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     1 //
     2 Inez Street Apartments
     3 Request 19:
     4
               For the period January 1, 2019 and January 1, 2021, a complete copy of any
     5 ESI in a property management program regarding any tenant or who rented or
     6 occupied a dwelling unit at the Inez Street Apartments, the rental dwelling that
     7 defendant Elisa Valerio referred plaintiff James Beasley, per the complaint.6
     8
       Response to Request 19 (served July 11, 2022): Same as to No. 16 above.
     9
       Response to Re-Served Request 19 (served October 22, 2022): Same as to No. 16
    10
       above.
    11
       Request 20:
    12
    13       20. For the period January 1, 2019 and January 1, 2021, a complete copy of
         any paper files regarding any tenant or who rented or occupied a dwelling unit at the
    14
         Inez Street Apartments, the rental dwelling that defendant Elisa Valerio referred
    15
         plaintiff James Beasley, per the complaint.7
    16
    17 Response to Request 20 (served July 11, 2022): Same as to No. 16 above.
    18 Response to Re-Served Request 20 (served October 22, 2022): Same as to No. 16
    19 above.
    20 Communications between Valerio and other Defendants, including
       their agents, managers, contractors, or vendors
    21
    22
               6
              The same request (for documents from January 1, 2018) was served on Pro
    23
       Management via subpoena as Category 14 documents. (Brancart Dec.; Exh. 23b.)
    24 Pro Management made the same response as to Category 11 set forth in footnote 3
    25 above.
               7
    26        The same request (for documents from January 1, 2018) was served on Pro
    27 Management via subpoena as Category 15 documents. (Brancart Dec.; Exh. 23b.)
       Pro Management made the same response as to Category 11 set forth in footnote 3
    28 above.

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     1         25.   Any file, document or thing, including electronically stored information
     2 (ESI) such as computer files, emails, faxes, and text (SMS) messages, reflecting any
     3 communication – dated, sent, or received at any time since January 1, 2019 – between
     4 defendant Elisa Valerio and any other defendant, including any agent, employee,
     5 contractor or vendor acting on behalf of any defendant, regarding Valerio’s
                                                                                   8
     6 employment, hiring, retention, or termination as a rental property manager.
     7 Response to Request for Production No. 25:
     8         Objection: vague and ambiguous. Overbroad. Seeks the production of
     9 information and documentation protected from disclosure pursuant to the attorney
    10 client communication privilege and attorney work product privilege. Seeks the
    11 production of information and documents that invades the privacy of parties and third
    12 parties. Beyond the scope of permissible discovery (not relevant to a party’s claims
    13 or defenses nor likely to lead to discovery of admissible evidence). Without waiving
    14 the foregoing objections, this responding party responds as follows: A diligent search
    15 and reasonable inquiry has been made in an effort to locate the item(s) Demanded. To
    16 the extent defendants have possession, custody and control of documents
    17 responsive to the request, this Responding Party will comply, including the
    18
    19
    20
    21
               8
                An analogous request was served on Pro Management via subpoena as
    22
         Category 16 documents, seeking
    23         Any file, document or thing, including electronically stored information
    24         (ESI) such as computer files, emails, faxes, and text (SMS) messages2,
               reflecting any communication – dated, sent, or received at any time since
    25
               January 1, 2019 – between defendant Elisa Valerio and Pro Management,
    26         Inc., including its principals, officers, employees, agents, contractors, or
    27         vendors, regarding Valerio’s employment, hiring, retention, or termination
               as a rental property manager.
    28   (Brancart Dec.; Exh. 28a.)
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     1 documents produced with defendants Initial Disclosures.9 [Emphasis added.]
     2         26.   Any file, document or thing, including electronically stored information
     3 (ESI) such as computer files, emails, faxes, and text (SMS) messages, reflecting any
     4 communication – dated, sent, or received at any time since January 1, 2019 – between
     5 defendant Elisa Valerio and any other defendant, including any agent, employee,
     6 contractor or vendor acting on behalf of any defendant, regarding the availability,
     7 inspection, rental, occupancy, vacation of any rental dwellings located in Hemet or
     8 San Jacinto, California.10
     9
    10         9
                Pro Management responded to the subpoena for Category 16 documents as
    11   follows:
               Objection: vague and ambiguous. Overbroad. Seeks the production of
    12
               information and documentation protected from disclosure pursuant to the
    13         attorney client communication privilege and attorney work product
    14         privilege. Seeks the production of information and documents that invades
               the privacy of parties and third parties. Seeks the production of financial
    15         information and documents that invades Responding Party’s privacy rights.
    16         Beyond the scope of permissible discovery (not relevant to any party’s
    17         claim or defense and not proportional to the needs of the case). Does not
               comply with the notice requirements of Calif. CCP § 1985.3. Housing
    18         Rights Center, 3255 Wilshire Blvd. #1150, Los Angeles, CA 90010 is not a
    19         party to the instant litigation nor is it counsel of record in the instant
               litigation, and as such is not entitled to receive the documents. Without
    20
               waiving the foregoing objections, this responding party responds as follows:
    21         A diligent search and reasonable inquiry has been made in an effort to
    22         locate the item(s) Demanded. To the extent Responding Party has
               possession, custody and control of documents responsive to the request,
    23
               this Responding Party will comply. It is noted that Responding Party has
    24         produced the documents responsive to the request to counsel for defendants
    25         which have been produced with defendants Initial Disclosures. [Emphasis
               added.]
    26
               10
    27         An analogous request was served on Pro Management via subpoena as
       Category 17 documents, limited to communications “between defendant Elisa
    28 Valerio and Pro Management, Inc., including its principals, officers, employees,

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     1 Response to Request for Production No. 26: [Same as Response to No. 25]
     2         27.   Any file, document or thing, including ESI such as computer files,
     3 emails, faxes, and text (SMS) messages, reflecting any communication – dated, sent,
     4 or received at any time since January 1, 2019 – between defendant Elisa Valerio and
     5 “Elisa V” or “Diana R” or Darlene Sanchez or Maria Rivera or Cheyenne Prokosh
     6 regarding the availability, inspection, rental, occupancy, vacation of any rental
     7 dwellings in Hemet or San Jacinto, California [footnotes referencing document Bates
     8 numbers omitted].11
     9 Response to Request for Production No. 27: [Same as Response to No. 25]
    10      28. Any file, document or thing, including ESI such as computer files,
    11 emails, faxes, and text (SMS) messages, reflecting the transmission of any
    12 information – dated, sent, or received at any time since January 1, 2019 – between
    13 defendant Elisa Valerio and “Elisa V” or “Diana R” or Darlene Sanchez or Maria
    14 Rivera or Cheyenne Prokosh regarding the availability, inspection, rental, occupancy,
    15 vacation of any rental dwellings in Hemet or San Jacinto, California.12
    16 Response to Request for Production No. 28: [Same as Response to No. 25]
    17
               29.   Any file, document or thing, including ESI such as computer files,
    18
         emails, faxes, and text (SMS) messages, reflecting any communication – dated, sent,
    19
    20
       agents, contractors, or vendors, regarding the availability, inspection, rental,
    21
       occupancy, vacation of any rental dwellings located in Hemet or San Jacinto,
    22 California.” (Exh. 28a.) Pro Management made the same objections and response
    23 as to Category 16.
               11
    24          The same request was served on Pro Management via subpoena as
    25 Category 18 documents. (Brancart Dec.; Exh. 28a.) Pro Management made the
       same objections and response as to Category 16.
    26
             12
    27          The same request was served on Pro Management via subpoena as
       Category 19 documents. (Brancart Dec.; Exh. 28a.) Pro Management made the
    28 same objections and response as to Category 16.

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     1 or received at any time since January 1, 2019 – between defendant Elisa Valerio and
     2 any principal, employee or agent of Pro Management Inc., including Diana Ramirez,
     3 Gris Martinez, “Valerie”, “Marina”, Darlene Sanchez, “Maria”, Maria Diaz, Maria
     4 Rivera, “Cheyenne”, Cheyenne Prokosh, Fredy Trujillo, Makaylin Melendra,
     5 “Alyssa”, Sherri Wilson, “Darlene”, or Veronica Trujillo regarding the availability,
     6 inspection, rental, occupancy, vacation of any rental dwellings in Hemet or San
                                                                                  13
     7 Jacinto, California [footnotes referencing document Bates numbers omitted].
     8 Response to Request for Production No. 29: [Same as Response to No. 25]
     9         30.   Any file, document or thing, including ESI such as computer files, emails
    10 and text (SMS) messages, reflecting the transmission of any information – dated, sent,
    11 or received at any time since January 1, 2019 – between defendant Elisa Valerio and
    12 any principal, employee or agent of Pro Management Inc., including Diana Ramirez,
    13 Gris Martinez, “Valerie”, “Marina”, Darlene Sanchez, “Maria”, Maria Diaz, Maria
    14 Rivera, “Cheyenne”, Cheyenne Prokosh, Fredy Trujillo, Makaylin Melendra,
    15 “Alyssa”, Sherri Wilson, “Darlene”, or Veronica Trujillo regarding the availability,
    16 inspection, rental, occupancy, vacation of any rental dwellings in Hemet or San
    17 Jacinto, California [footnotes referencing document Bates numbers omitted].14
    18 Response to Request for Production No. 30: [Same as Response to No. 25]
    19 Communications between Valerio and Tenants or
    20 Prospective Tenants
             31. Any file, document or thing, including ESI such as computer files,
    21
       emails, faxes, and text (SMS) messages, reflecting any communication – dated, sent,
    22
    23
               13
    24          The same request was served on Pro Management via subpoena as
    25 Category 20 documents. (Brancart Dec.; Exh. 28a.) Pro Management made the
       same objections and response as to Category 16.
    26
             14
    27          The same request was served on Pro Management via subpoena as
       Category 21 documents. (Brancart Dec.; Exh. 28a.) Pro Management made the
    28 same objections and response as to Category 16.

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     1 or received at any time from January 1, 2019 to May 1, 2021– between defendant
     2 Elisa Valerio and any rental applicant, prospective tenant, or tenant regarding any
     3 rental dwelling located in Hemet or San Jacinto, California [fn:Any rental dwelling
     4 located in Hemet or San Jacinto, California, includes but is not limited to the rental
     5 dwellings located at the following street addresses: 145 N. Inez Street, Hemet; 214
     6 South San Jacinto Street, Hemet; 216 South San Jacinto Street, Hemet; 218 South San
                                                                15
     7 Jacinto Street, Hemet; or 675 South San Jacinto, Hemet.].
     8 Response to Request for Production No. 31: [Same as Response to No. 25]
     9         32.   Any file, document or thing, including ESI such as computer files,
    10 emails, faxes, and text (SMS) messages, reflecting any communication – dated, sent,
    11 or received at any time from January 1, 2019 to May 1, 2021– by defendant Elisa
    12 Valerio regarding any person expressing interest in the rental of a dwelling located
    13 in Hemet or San Jacinto, California. 16
    14 Response to Request for Production No. 32: [Same as Response to No. 25]
    15      33.    Any file, document or thing, including ESI such as computer files,
    16 emails, faxes, and text (SMS) messages – dated, sent, or received at any time from
    17 January 1, 2019 to May 1, 2021– by created or received by defendant Elisa Valerio
    18 regarding any person expressing interest in the rental of a dwelling located in Hemet
    19 or San Jacinto, California.
    20
         Response to Request for Production No. 33: [Same as Response to No. 25]
    21
               34.   Any file, document or thing, including ESI such as computer files,
    22
    23
               15
    24          The same request was served on Pro Management via subpoena as
    25 Category 22 documents. (Brancart Dec.; Exh. 28a.) Pro Management made the
       same objections and response as to Category 16.
    26
             16
    27          The same request was served on Pro Management via subpoena as
       Category 24 documents. (Brancart Dec.; Exh. 28a.) Pro Management made the
    28 same objections and response as to Category 16.

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     1 emails, faxes, and text (SMS) messages, reflecting any communication – dated, sent,
     2 or received at any time from January 1, 2019 to May 1, 2021– by defendant Elisa
     3 Valerio regarding any rental applicant, prospective tenant, or tenant regarding any
     4 rental dwelling located in Hemet or San Jacinto, California.
     5 Response to Request for Production No. 34: [Same as Response to No. 25]
     6         35.    Any file, document or thing, including ESI such as computer files,
     7 emails, faxes, and text (SMS) messages – dated, sent, or received at any time from
     8 January 1, 2019 to May 1, 2021– by created or received by defendant Elisa Valerio
     9 regarding any rental applicant, prospective tenant, or tenant regarding any rental
    10 dwelling located in Hemet or San Jacinto, California.
    11 Response to Request for Production No. 35: [Same as Response to No. 25]
    12
       145 N. Inez Street Apartments
    13
              36. Any file, document or thing, including ESI such as computer files,
    14
       emails, faxes, and text (SMS) messages – dated, sent, or received at any time from
    15
       January 1, 2019 to May 1, 2021– reflecting or regarding any person who expressed
    16
       interest in renting, inspecting, or applying for rental of a dwelling located at 145 N.
    17
       Inez Street.17
    18
       Response to Request for Production No. 36: [Same as Response to No. 25]
    19
    20        37. If not produced in response to request 36, then a complete copy of any

    21 application and screening documents and files and any database entries recording
       information about applicants or prospective tenants for rental of a dwelling located
    22
       at 145 N. Inez Street during the period between January 1, 2019 and May 1, 2021.18
    23
    24
               17
    25          The same request was served on Pro Management via subpoena as
       Category 27 documents. (Brancart Dec.; Exh. 28a.) Pro Management made the
    26 same objections and response as to Category 16.
    27       18
                The same request was served on Pro Management via subpoena as
    28 Category 28 documents. (Brancart Dec.; Exh. 28a.) Pro Management made the

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     1 Response to Request for Production No. 37: [Same as Response to No. 25]
     2         38.   A complete copy of any file, document or thing, including ESI such
     3 as computer files, emails, faxes, and text (SMS) messages – dated, sent, or received
     4 at any time from January 1, 2019 to May 1, 2021– reflecting or regarding any person
     5 who rented a dwelling the dwellings located at 145 N. Inez Street.19
     6 Response to Request for Production No. 38: [Same as Response to No. 25]
     7       39. If not produced in response to request 38, then a complete copy of any
     8 tenant file, including application and screening documents and any database entries
     9 recording information about tenants who occupied a dwelling located at 145 N. Inez
    10 Street during the period between January 1, 2019 and May 1, 2021.20
    11
       Response to Request for Production No. 39: [Same as Response to No. 25]
    12
       675 South San Jacinto Street
    13
             52. If not already produced, any file, document or thing, including ESI
    14
       such as computer files, emails, faxes, and text (SMS) messages – dated, sent, or
    15
       received at any time from January 1, 2019 to May 1, 2021– reflecting or regarding
    16
       any person who expressed interest in renting, inspecting, or applying for rental of a
    17
       dwelling located at 675 South San Jacinto Street.21
    18
    19
    20 same objections and response as to Category 16.
    21       19
                The same request was served on Pro Management via subpoena as
    22 Category 29 documents. (Brancart Dec.; Exh. 28a.) Pro Management made the
    23 same objections and response as to Category 16.
               20
    24          The same request was served on Pro Management via subpoena as
    25 Category 30 documents. (Brancart Dec.; Exh. 28a.) Pro Management made the
       same objections and response as to Category 16.
    26
             21
    27          The same request was served on Pro Management via subpoena as
       Category 43 documents. (Brancart Dec.; Exh. 28a.) Pro Management made the
    28 same objections and response as to Category 16.

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     1 Response to Request for Production No. 52: [Same as Response to No. 25]
     2          53.   If not already produced, a complete copy of any application and
     3 screening documents and files and any database entries recording information about
     4 applicants or prospective tenants for rental of a dwelling located at 675 South San
     5 Jacinto Street during the period between January 1, 2019 and May 1, 2021.22
     6 Response to Request for Production No. 53: [Same as Response to No. 25]
     7      54. If not already produced, any file, document or thing, including ESI
     8
         such as computer files, emails, faxes, and text (SMS) messages – dated, sent, or
     9
         received at any time from January 1, 2019 to May 1, 2021– reflecting or regarding
    10
         any person who rented a dwelling the dwellings located at 675 South San Jacinto
    11
         Street.23
    12
         Response to Request for Production No. 54: [Same as Response to No. 25]
    13
                55.   If not already produced, a complete copy of any tenant file, including
    14
         application and screening documents and any database entries recording information
    15
         about tenants who occupied a dwelling located at 675 South San Jacinto Street during
    16
         the period between January 1, 2019 and May 1, 2021.24
    17
         Response to Request for Production No. 55: [Same as Response to No. 25]
    18
    19 Rental Application Processing
    20
    21          22
              The same request was served on Pro Management via subpoena as
    22 Category 44 documents. (Brancart Dec.; Exh. 28a.) Pro Management made the
    23 same objections and response as to Category 16.
                23
    24          The same request was served on Pro Management via subpoena as
    25 Category 45 documents. (Brancart Dec.; Exh. 28a.) Pro Management made the
       same objections and response as to Category 16.
    26
             24
    27          The same request was served on Pro Management via subpoena as
       Category 46 documents. (Brancart Dec.; Exh. 28a.) Pro Management made the
    28 same objections and response as to Category 16.

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     1         56. A complete copy of each credit report received from any credit reporting
     2 company in connection with screening any application to rent a dwelling located in
     3 Hemet or San Jacinto, California, during the period between January 1, 2019 and May
     4 1, 2021.
     5 Response to Request for Production No. 56: [Same as Response to No. 25]
     6 Tenant Records/Communications Missing from Prior Production by Defendants
     7      57.    Any file, document or thing, including ESI such as computer files,
     8
         emails, faxes, and text (SMS) messages – dated, sent, or received at any time since
     9
         January 1, 2018 – reflecting or regarding any person who expressed interest in
    10
         renting, inspecting, or applying for rental of a dwelling located at 675 South San
    11
         Jacinto Street.
    12
         Response to Request for Production No. 57: [Same as Response to No. 25]
    13
               58.    Any file, document or thing, including ESI such as computer files,
    14
         emails, faxes, and text (SMS) messages – dated, sent, or received at any time since
    15
         January 1, 2018 – reflecting or regarding any tenant who occupied a dwelling located
    16
         at 675 South San Jacinto Street, including: Unit 3, Unit 6, Unit 7, Unit 15, Unit 18,
    17
         Unit 20, Unit 21, Unit 22, Unit 23.
    18
    19 Response to Request for Production No. 58: [Same as Response to No. 25]
    20 Electronic Data
    21         59.    A complete copy of any ESI kept, recorded or maintained in any
    22 database program, such as a property management program (e.g., Yardi, Buildium,
    23 AppFolio, or InHouse program, etc.,etc), regarding the operation of the following
    24 rental dwellings for the period since January 1, 2018:
    25         •      145 N. Inez Street, Hemet;
    26         •      214 South San Jacinto Street, Hemet;
    27
               •      216 South San Jacinto Street, Hemet;
    28

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     1         •      218 South San Jacinto Street, Hemet; and
     2         •      675 South San Jacinto, Hemet.
     3 Response to Request for Production No. 59: [Same as Response to No. 25]
     4
              B.     Plaintiffs’ Position
     5
              Defendants have repeatedly stated that they would produce documents
     6
       responsive to the requests set forth above. To the extent defendants claim they have
     7
       only agreed to provide documents that they themselves possess, that assertion must
     8
       be rejected. Defendants cannot claim that they are unable to produce documents
     9
       which are in the control of their agents, including Pro Management and Elisa Valerio.
    10
       Rule 34 requires the responding party to produce any documents within the
    11
       possession, custody or control of its agents. See, e.g., In re Ruppert, 309 F.2d 97 (6th
    12
       Cir. 1962); Henderson v. Zurn Industries, Inc., 131 F.R.D. 560, 567 (S.D.Ind. 1990);
    13 Wardrip v. Hart, 934 F.Supp. 1282, 1286 (D.Kan 1996). Therefore, defendants are
    14 obligated to retrieve all responsive documents from their agents and produce them to
    15 plaintiffs. The operational data and communications requested are relevant and
    16 proportional for the same reasons as the other discovery sought as explained below.
    17
              C.     Defendants’ Position
    18
              Pro Management, a non-party, has the documentation responsive to the
    19
       requests. Pro Management has provided approximately 1491 pages of records
    20
       responsive to the requests, which have in turn been produced to Plaintiffs. Said
    21
       documents include all of the files that Valerio worked on including tenant files,
    22
       rejected tenant files, etc.
    23
       III. ARGUMENT RE: PROPORTIONALITY OF PLAINTIFFS’ REQUESTS
    24
       FOR PRODUCTION
    25
              A.     Plaintiffs’ Position. These discovery requests are consistent with the
    26
       need of this case. As discussed above, the records requested are essential to
    27
       plaintiffs’ ability to demonstrate that defendants committed discriminatory housing
    28

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     1 practices under the disparate treatment theory.      Moreover, the issue at stake –
     2 addressing housing discrimination – is an “overriding societal priority.” Meyer v.
     3 Holley, 537 U.S. at 280. The asymmetry between the parties is massive on several
     4 dimensions. Defendants are some of the biggest landlords in the Inland Empire;
     5 plaintiffs are a single individual of modest means and a local nonprofit. Big versus
     6 small may not matter much in discovery, but the information asymmetry between the
     7 sides clearly does. Defendants have sole possession and control over the information
     8 that plaintiffs need to establish the factual circumstances from which an inference of
     9 intentional discrimination may be drawn. Without the requested discovery, this case
    10 will not be a fair fight.
    11         As discussed, plaintiffs offered to shoulder the burden of inspecting and
    12 copying the paper tenant files – a proposal rejected by defendants. Moreover,
    13 plaintiffs’ ESI requests should pose no burden on defendants: The request ESI can be
    14 copied onto a flash drive by an administrative assistant who drags and drops ESI from
    15 one storage system (file server) to another (flash drive). The property management
    16 data is readily accessible and easily copied without delay and should be produced as
    17 exported data in native format transferred to an FTP site or flash drive. See Textron
    18 Fin. Corp. v. Eddy’s Trailer Sales, Inc., No. CV 08-2289 (JFB) (AKT), 2009 U.S.
    19 Dist. LEXIS 60065, at *2 (E.D.N.Y. July 10, 2009) (finding that ESI is accessible
    20 when it is stored on existing servers); (citing Zubulake v. UBS Warburg LLC, 217
    21 F.R.D. 309, 320 (S.D.N.Y. 2003) (explaining that online data stored on an active
    22 server is “accessible.”); Quail Cruises Ship Mgmt. v. Agencia De Viagens Cvc Tur
    23 Limitada, No. 09-23248-CIV-HUCK/B, 2012 U.S. Dist. LEXIS 198390, at *7 (S.D.
    24 Fla. Feb. 14, 2012) (holding that ESI stored on the cloud is “readily accessible”);
    25 Starbucks Corp. v. ADT Sec. Servs., Inc., No. 08-cv-900-JCC, 2009 WL 4730798, at
    26 *6 (W.D. Wash. Apr. 30, 2009) (compelling production despite declarations
    27 complaining about the effort required to collect and review the requested ESI,
         because the ESI was relevant and accessible). Accordingly, burden is not a basis for
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     1 denying this discovery.
     2         Only by obtaining the documents regarding the key percipient witnesses in this
     3 case that defendants created or controlled reflecting their rental practices and
     4 interactions can plaintiffs elicit admissions from defendants and rebut defenses. The
     5 information requested is not only relevant, but also admissible under Fed. R. Evid.
     6 404(b), 406, 801(d)(2).
     7         B.    Defendants’ Position.
     8         Plaintiffs were advised that Defendants (and Pro Management) do not retain
     9 hard copies of documents. All documents are scanned in electronic PDF format and
    10 the hard copies are shredded. The documents that have been produced are in the
    11 electronic format that Defendants (and Pro Management) retain them in. There are
    12 simply no hard copies of tenant files.
    13         The tenant files contain sensitive information (social security and driver’s
    14 license numbers, financial information, credit check information etc., all of which
    15 need to be property redacted. The files also need to be marked confidential. The files
    16 produced to Plaintiffs and the additional documents to be produced that have been
    17 produced by Pro Management are in the electronic (pdf) format that Defendants (and
    18 Pro Management) retain them, except obviously for the redaction of sensitive
    19 information.
    20
             Plaintiffs suggest that the “request ESI can be copied onto a flash drive by an
    21 administrative assistant who drags and drops ESI from one storage system (file
    22 server) to another (flash drive)”. That is exactly what Defendants (and Pro
    23 Management) have done, again except for the redacting of sensitive information and
    24 marking the documents confidential.
    25
         IV.   ARGUMENT RE: DEFENDANTS’ PRIVACY OBJECTIONS
    26
               A.    Plaintiffs’ Position.
    27
               Defendants interposed third-party privacy objections to production of
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     1 information regarding their rental applicants and tenants. That objection is not well
     2 taken and any valid privacy concern may be addressed under the Protective Order
     3 (ECF 21). See Prado v. Wal-Mart Stores, Inc., 2018 WL 3487057, at *4 (C.D.Cal.,
     4 2018) (granting motion to compel and ruling that “any privacy issues can be mitigated
     5 by the Stipulated Protective Order already issued”).
     6         Federal common law governs adjudication of privacy objections in federal fair
     7 housing case, United States v. Zolin, 491 U.S. 554, 562 (1989), and it is dubious that
     8 the federal common law recognizes a right to privacy that trumps discovery under the
     9 Federal Rules of Civil Procedure. For sure, “‘there is no absolute privilege for trade
    10 secrets and similar confidential information.’” Fed. Open Mkt. Comm. Of Fed.
    11 Reserve Sys. v. Merrill, 443 U.S. 340, 362 (1970) (quoting 8 C. Wright & A. Miller,
    12 Federal Practice and Procedure § 2043, p. 300 (1970)). Federal courts “routinely”
    13 order production of third-party information in civil rights cases. Ceramic Corp. of
    14 Amer. v. Inka Mar. Corp. Inc., 163 F.R.D. 584, 589 (C.D. Cal. 1995) (citing cases
    15 requiring production of non-party medical information, tenure and personnel files,
    16 and evaluations of non-party supervisor); see also EEOC v. Ford Motor Credit Co .,
    17 26 F.3d 44, 47 (6th Cir. 1994) (“Comparative information . . . is absolutely essential
    18 to a determination of discrimination.”) (internal quotation marks omitted). This is
    19 especially so in federal fair housing cases. See, e.g., Marable v. H. Walker & Assocs.,
    20 644 F.2d 390, 396 (5th Cir. 1981) (evidence consisted of tenant applications and
    21 credit reports); Smith v. Sol D. Adler Realty Co., 436 F.2d 344, 347 (7th Cir. 1971)
    22 (plaintiffs allowed to inspect tenant applications); see also Whyte v. Alston, 2011 WL
    23 13107428, at *3-4 (S.D. Fla. July 7, 2011) (despite defendants’ relevance,
    24 burdensomeness, and overbreadth objections, court granted motion to compel
    25 information regarding former tenants in a case pleading a pattern and practice of
    26 discrimination against families with children, noting “[a] pattern and practice of
    27 discrimination may be proved by evidence of past practices continuing into the
         present”); Jones v. Travelers Cas. Ins. Company of America, Case No. 5:13-cv-
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     1 02390-LHK-PSG, 2014 WL 3593222, *3 & n.29 (N.D. Cal. Jul. 18, 2014) (in fair
     2 housing action brought by individual insureds, overruling a defendant’s third-party
     3 privacy right objection and ordering production of files reflecting insurer’s treatment
     4 of similarly situated insureds).
     5         California state courts follow the same analysis in state fair housing cases
     6 despite California’s unique privacy protections:
     7         [R]ental information about other applicants and selected tenants is reasonably
     8         relevant to the discrimination investigation…Claims of differential treatment
     9         have been held to be essential to proving housing discrimination based on race.
    10         Documents sought would assist petitioner in determining whether [landlord]’s
    11         rental practices violate FEHA. The Department could determine the racial
    12         makeup and marital status of [landlord]’s renters, as well as that of applicants
    13         who were unsuccessful in renting from [landlord].
    14 Department of Fair Employment & Housing v. Superior Court, 99 Cal. App. 4th 896,
    15 902 ( 2002).
    16         B.     Defendants’ Position.
    17
               Plaintiffs fail to articulate what information they need that is objected to per
    18
         third parties privacy concerns. Defendants have produced third party tenant and
    19
         prospective tenant files and have redacted social security and driver’s license
    20
       numbers and financial information. Plaintiffs fail to argue why they need the social
    21 security and driver’s license numbers and the financial information (income
    22 statements, tax withholding, bank account information, etc.) for this case. Plaintiffs
    23 allege discrimination based on race, nothing more. Third party’s social security and
    24 driver’s license numbers, financial information, taxes withheld, tax returns, and other
    25 sensitive information is not relevant to Plaintiff’s claims, and the third party’s
    26 sensitive information should not be produced to Plaintiffs in order to protect the third
    27 party’s privacy rights.
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     1                                       * * *
     2        Dated: January 19, 2023.
     3                               Respectfully submitted,
     4
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